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NCO EVALUATION REPORT SEE PRIVACY ACT STATEMENT os
For use of this form, see AR 623-205; the proponent agency is DCSPER IN AR 623-205, APPENDIX E.
PART 1 - ADMINISTRATIVE DATA
a. NAME (Last, First, Middle initial) b. SSN . RANK d. DATE OF RANK/e. PMOSC
BROWN, JEREMY M. 246-27-110 SGT 950501 11B2V
{. UNIT, ORG., STATION, ZIP CODE OR APO, MAJOR COMMAND 9g. REASON FOR SUBMISSION
B cO, ist Bn, 75th Rgr Regt, Hunter AAF, GA 31409 USASOC 03 | Change of Rater
h. PERIOD COVERED i. RATED j, NON. k. NO. OF |. RATED NCO COPY (Check one and Date) m. PSC n.CMD | o. PSC
FROM THRU MONTHS TED ENCL Dar Initiate CODE CODE
CODES 1. Given to NCO ale
YY MM YY MM I ol
95 o05| 96 o1f 2 2, Forwarded to NCO LO//§ \ ARS |) FS11

 

 

 

 

 

 

 

 

 

 

 

PART Ul - AUTHENTICATION rN

 

 

 

 

 

 

 

 

 

 

 

 

 

 

a. NAME OF RATER (Last, First, Middle Initial) SSN SIGNATUR
SCHMID, LELAND A. XXX-XX-XXXX 2A Wel) Lh ; A) \
RANK, PMOSC/BRANCH, ORGANIZATION, DUTY ASSIGNMENT { = ; DA’
SGT, 11B2V, B CO, 1st Bn, 75th Rgr Regt, HAAF, GA 31409 Squad Leader "ap
b. NAME OF SENIOR RATER (Last, First, Middle Initial) SSN SIGNATURE wt,
HARLAN, RANDY E. XXX-XX-XXXX tian rey LNelaw
RANK, PMOSC/BRANCH, ORGANIZATION, DUTY ASSIGNMENT Oo DA
SSG, 11B3V, B CO, 1st Bn, 75th Rgr Regt, HAAF, GA 31409 Platoon Sergeant St) /P
* Rinatnies Serine, Morac torLogunagt emer eneee asta) [OPTI Y
have seen this report completed through Part V. | am aware of the appeals process (AR 623-205). if Wa Pion te b/ | Kr
d. NAME OF REVIEWER (Last, First, Middle initial) SSN SYGPATU a
ULRICH, ANDREW C. XXX-XX-XXXX dee C.. Lief
RANK, PMOSC/BRANCH, ORGANIZATION, DUTY ASSIGNMENT _ ~ OF DAT!
CPT, IN, B CO, 1st Bn, 75th Rgr Regt, HAAF, GA 31409 Platoon Leader LOA
e. NX CONCUR WITH RATER AND SENIOR RATER EVALUATIONS [| NONCONCUR WITH RATER AND/OR SENIOR RATER EVAL (See attached comments)
\ PART iit - DUTY DESCRIPTION (Rater)
a. PRINCIPAL DUTY TITLE b. DUTY MOSC
Fire Team Leader 11B2V

 

 

¢. DAILY DUTIES AND SCOPE (To include, as appropriate, people, equipment, facilities and dollars) Responsible for a 4-man airborne
ranger fire team capable of deploying world-wide within 18 hours to conduct direct action
missions which include airborne assaults, airfield seizures, air assault raids, ambushes
and other special military operations to achieve the goals, policies and objectives of th
United States; further responsible for all mission essential equipment valued at over

$43,000
d. AREA OF SPECIAL EMPHASIS

 

Cobra Gold 95, Thailand; Rotary Wing and Fixed Wing Special Operations
Training

 

®. APPOINTED DUTIES Assistant Instructor on M16 range; Emergency Medical Technician

 

 

 

 

 

 

 

 

 

 

 

 

 

 

t. Counseling dates from checklist /record , (INITIAL LATER LATER LATER
950504 950803 251107
PART IV - VALUES/NCO RESPONSIBILITIES (Rater)
a. Complete each question. (Comments are mandatory for “No” entries; optional for “Yes” entries.) YES | NO
1, Places dedication and commitment to the goals and missions of the Army and nation above personal welfare. 1
V PERSONAL 2. a committed to and shows a sense of pride in the unlt - works as a member of the team. 2
: Commitment 3. Is diseiptined and obedient to the spirit and letter of a lawful order. 3
a & Competence 4. 1s honest and truthful in word and deed. 4
gy rn 5. Malntaing high standards of personal conduct on and off duty. 5
nw L . 6. Has the courage of convictions and the abllity to overcome fear - stands up for and dose, what's right. 6
é & 7. Supports EQ/EEO 7

 

 

 

 

U Bullet comments

 

 

 

 

ARMY ETHIC © totally dedicated to the Army, its mission and his men
Loyalty E
Duty o leads by example; sets and maintains the highest standards for
Selfiess Service S appearance and conduct
integrity
o a top professional whose integrity is above reproach
DA FORM 2166-7, SEP 87 REPLACES DA FORM 2166-6, OCT 81, WHICH IS OBSOLETE

 

 

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Case 8:21-cr-00348-SCB-SPF Document 345-4 Filed 03/27/23 Page 2 of 34 PagelD 5111

 

NAME

RATED NCO’S ‘Last, First, Middle Initial)
BROWN, JERE M.

THAU DATE
96

 

N
XXX-XX-XXXX o1

 

PART IV (Rater) - VALUES/NCO RESPONSIBILITIES

Specific Butiet examples of *E
Speestic Quitet examples of *§

 

XCELLENCE” or "NEEDS IMPROVEMENT” are
SUCCE GS are optional. seutiey

 

b. COMPETENCE

© Duty proficiency; MOS competency

o Technical & tacticat knowledge, skills, and
abilitles

o Sound judgment

© Seeking sali-improvement; always learning

o Accomplishing tasks to the fullest capacity;
committed to excellence

 

o successfully completed Special Forces Assessment and
Selection course and was selected to attend Q course

o earned his Thailand Parachutist Badge

© participated in a hand-to-hand demonstration

 

 

 

 

 

 

lEnceotaeta) ioste'etd} ea) (es celebrating the 50 year anniversary of WWII
¢. PHYSICAL FITNESS & MILITARY BEARING ae [HEIGHT/WEIGHT 72/108 YES
© Mental and physical t 88 © scored 284 on last APFT
o Endurance stamina to go the distance
S Dieplayin , conficenes and enthusiasm; o routinely completes 12 mile roadmarch carrying a
rucksack in excess of 35 lbs in under 3 hours
EXCELLENCE SUCCESS NEEOS IMPROVEMENT
(Exceeds std) — (Meets std) (Some) (Much) © always looks and displays the positive appearance and
"] x [ { } attitude of an infantry soldier
d. LEADERSHIP o a sound leader who is effective in influencing
© Mission first soldiers to complete the most difficult missions
o Genuine concern for soldiers .
° Settinotinc corre boas bon o consistently teaches the hard right attitude and
win-win philosophy
EXCELLENCE SUCCESS NEEDS IMPROVEMENT
(Exceeds sid} (Meats std) (Some) (Much) © successfully led his team through squad external
C] S [] {] evaluation rotation
@. TRAINING © entire team qualified expert on assigned weapons
0 Individual and team
° Teecting Gonberd ties care oriented o team’s APFT average is 270
duty-related skills
° Sharing knowl in endl Superignce to fight, o uses experience to improve the knowledge of soldiers
EXCELLENCE SUCCESS NEEDS IMPROVEMENT
(Exceeds std) (Meets std) (Some) (Much)
bX C) Ct C]
f. RESPONSIBILITY & ACCOUNTABILITY o conducted over 12 live fire operations with no
o Care and maintenance of equip./facilities accidents or loss of equipment
o Soldier and equipment safety
o Conservation of supplies and funds
© Encouraging soldiers to learn and grow © accepts responsibility for his own actions and those
a Responsible for good, bad, right & wrong of his subordinates
EXCELLENCE SUCCESS NEEDS IMPROVEMENT
(Exceeds std) (Meets std) (Some) (Much) o maintains all weapons and equipment at 100% combat

[1 It ]

readiness

 

bx [|
PART V - OVE

RALL PERFORMANCE AND POTENTIAL

 

a. RATER. Overall potential for promotion and/
or service in positions of greater responsibility.

FULLY
CAPABLE MARGINAL

x] C Pi]

AMONG THE
BEST

 

b. RATER. List 3 positions in which the rated
NCO could best serve the Army at his/her
current or next higher grade.

Squad Leader
Drill Sergeant
Ranger Instructor

 

e, SENIOR RATER BULLET COMMENTS

o unlimited potential
o send to BNCOC and promote now

o a tactically and technically proficient NCO

 

 

¢. SENIOR RATER. Overall performance

 

 

 

 

d. SENIOR RATER. Overall potential
for promotion and/or service in

 

 

 

 

12 93
Successful

 

4 positions of greater responsibllity.

Fair

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Poor

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Superior

4
Fair

 

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+ NEO EVALUATION REPORT : SEE PRIVACY ACT STATEMENT +
For use of this form, sea AR 623-205; the proponent agency is DCSPER IN AR 623-205, APPENDIX E.
PART | - ADMINISTRATIVE DATA
a. NAME (Last, Fst, Middle Initial) b. SSN c. RANK DATE OF RANK @. PMOSC
Brown, Jeremy , XXX-XX-XXXX SGT 950501 | ‘ 18B3V00TH
if, UNIT, ORG., STATION, ZIP CODE OR APO, MAJOR COMMAND g. REASON FOR SUBMISSION
A Co, 3rd Bn, Ist SFG (A), Ft. Lewis, WA 98433 (USASOC) 03 | Change of Rater
h. PERIOD COVERED TRATED [NON |RNO.OF |, mATEDNCOCOPY (Check one and Date) m Pst fn OHO [o. PSC
ra = ua MONTHS a ENCL 7 in aa Date Initiats CODE CODE
97 “07 | 98 01 | 07 Xe. roared ncn o 805// ff sp | Fs06
PART II - AUTHENTICATION
a, NAME OF RATER (last, First, Middle Initia) SSN SIGNATU
Musick, Horise D. XXX-XX-XXXX | . ober L) LP le
RANK, PMOSC/BRANCH, ORGANIZATION, OUTY ASSIGNMENT w TAT
MSG, 18Z50, A Co, 3rd Bn, Ist SFG(A), Ft. Lewis, WA 98433, Special Forces Operations Sergeant PY / /
B, NAME OF SENIOR RATER (last, First, Middle Initial SSN GNATU
Chamness, Jason B. _ XXX-XX-XXXX mS Nd
RANK, PMOSC/BRANCH, ORGANIZATION, DUTY ASSIGNMENT — DA
CPT, SF, A Co, 3rd Bn, ist SFG(A), Ft. Lewis, WA 98433, Special Forces Detachment Commander PROM i
C, RATED HCO: I urderstand my sigsatora does oot constitete agreement os disagreement with SIGNATURE DATE .
waves SO acLGreAPEiN lamocdtcipeeyaanya eran. try ’ Broun PROD
@. NAME OF REVIEWER (ast, First, Middle Initial) SSN S)GNATU
Sabin, Paul J. XXX-XX-XXXX dt L habs, ‘

 

 

 

RANK, PMOSC/BRANCH, ORGANIZATION, DUTY ASSIGNMENT
MAJ, SE, A Co, 3rd Bn, 1st SFG(A), Ft. Lewis, WA 98433, Special Forces Company Commander _.

/

 

 

e x CONCUR WITH RATER AND SENIOR RATER EVALUATIONS

| | NONCONCUR WITH RATER AND[OR SENIOR RATER EVAL (See attached comments}

 

 

a, PRINCIPAL DUTY TITLE
Special Forces Weapons Sergeant

PART ltl - DUTY DESCRIPTION (Rater)

h. DUTY MOSC
18B3V

 

 

in excess of $100,000; monitor:

c. DAILY DUTIES AND SCOPE (To inclode, as appropriate, people, equipment, facilities and dollars}
Assists in preparation of operations orders and plans; coordinates for training sites and ranges for all
detachment training; applies conventional and unconventional warfare principles in training and
employment of small arms, crew served, anti-armor, air defense and foreign weapons for Special
Operations missions; responsible for maintenance and accountability of detachment weapons with a value

s and manages all detachment Class V allocations.

 

d, AREAS OF SPECIALEMPHASIS Detachment train-up and participation in JCS Exercise Foal Eagle in the Republic of
Korea; primary planner for coordination, preparations and conduct of detachment OPT Able
deployment to the Republic of Panama; attendance of Ist SFG(A) SOTIC Special Reconnaissance Course.

Pyrrhic

 

e. APPOINTED OUTIES

 

LATER

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

f. Counseling dates from checiistrecord INITIAL | LATER LATER
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a PART IV - VALUES/NCO RESPONSIBILITIES (Rater)
a. Complete each question. (Comments are mandatory for “No” entsies; optional for "Yes™ entries.) yes } HO
1. Places dedication and commitment to the goals and missions of the Anny end nation above perscaal welfere. 1
PERSONAL 2. Is comrnitted to and shows 8 sense of pride in the unit - works as. a member of the team. 2
Commitment :
VY Competence Is disciplined and ebedient to the spit end letter of a lawiud ordes, 3
Condor 4. tshonest ond truthful io word and deed, : - 4
A Courage &, Maintains high stendands of personal conduct on and off duty. 5
L oe 6, Has the courage of convictions and the ability to overcome fear - stands up for and does, what's right. 8
“SS Ar. supports eoreeo. ?
0° 7
U a Bullet comments .
ARMY ETHIC Z : o Mission focused-NCO
Loyalty ool: i. .
Duty E o Dedicated to mission accomplishment and his detachment
+ Selffess Service S . . ” .
Integrity : + .
+ -
DA FORM 2166-7, SEP 87 REPLACES DA FORM 2166-6, OCT 81, WHICH IS OBSOLETE USAPPC V2.10

   

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er Coo

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Serene
RATEO NCO'S NAME (Last, First, Middle Initial}
+ Brown, Jeremy

SSN
‘ XXX-XX-XXXX

THRU DATE

9801 iG

 

 

 

PART IV (Rater) - VALUESINCO RESPONSIBILITIES

Sees “EXCELLENCE” or “REEDS IMPROVEMENT are mandatory,
Gutet examples of “SUCCESS” are optional,

 

b. COMPETENCE
© Duty proficiency; MOS competency
© Technical & tactical; knowledge, skills, and
abilittes
0 Sound judgment
0 Seeking self-improvement; always leaming
© Accomplishing tasks to the fullest capacity;

EXCELLENCE st CESS NEEDS IMPROVEMENT
eeds std) Meets sid) Som Mauch}

o Competence and experience made immeasurable contributions to
overall detachment readiness and mission accomplishment

o Tactical knowledge was a significant contribution to the
detachment's successful mission during JCS Exercise Foal Eagle

o Displayed in-depth knowledge of small unit tactics during conduct

 

c. PHYSICAL FITNESS & MILITARY BEARING
0 Mental end physical toughness
0 Endurance and stamina to go the distance
© Olsplaying confidence and enthusiasm;

 

of several detachment live fire training missions at
appr PASS 9708 | HEIGHTANEIGHT 73/175 ¥ES
o Scored 291 on latest APET 2

0 Displayed admirable physical toughness during an arduous eight
day special reconnaissance mission in the Republic of Korea

o Sets the standard during detachment daily physical fitness

 

looks fike a soldier
EXCELLENCE SUCCESS NEEDS IMPROVEMENT
(Exceeds std) ‘a Std ome} rT
d. LEADERSHIP
o Mission first

0 Genuine concem for soldiers
0 Instilling the spirit to achiave and win
© Setting the example; Be, Know, Do

o Performance as a student small group advisor during a Target
Analysis Course in ROK was a major factor in course success

o Leadership during three detachment live fire FTXs was a critical
determinant in safely achieving all detachment training objectives

 

EXCELLENCE SUCCESS NEEDS IMPROVEMENT
lExceeds std) ‘Ba std) (Some} ry
e. TRAINING

0 Individual and team
© Mission focused; pesformance oriented
© Teaching soldiers how; common tasks,

uty-related skills
© Sharing knowledge and experience to fight,

survive and win
EXCELLENCE SUCCESS NEEDS IMPROVEMENT
lExceeds std} (Meats std) (Some) —(Much}

o Superbly managed portions of a live fire demolitions range for
members of a National Guard Engineer unit at YFC

o Safely and effectively instructed three days of live fire mortar and
106mm RCRL training during a detachment off post mission

o Abilities as a trainer and experience far exceed the levels
normally associated with an NCO of his rank

 

f, RESPONSIBILITY & ACCOUNTABILITY

0 Care and maintenance of equip./facilities
© Soldier und equipment safaty

0 Conservation of supplies and funds

© Encouraging soldiers to team and grow

o Responsible for good, bad, right & wrong

EXCELLENCE
(Exceeds std] (Meets std)

L] Bd

SUCCESS NEEDS IMPROVEMENT
(Some} = (Much)

o Ensured all Army and detachment weapons maintenance
procedures were followed and all records were maintained

0 Maintained 100% accountability of detachment weapons and
associated equipment worth in excess of $100,000

 

PART V- OVERALL PERFORMANCE AND POTENTIAL

 

8. RATER. Overall potential for promotion and!
or service in positions of greater responsibility.
~~

AMONG THE
BEST

Bal

FULLY

CAPABLE MARGINAL

e. SENIOR RATER BULLET COMMENTS
o Promote to SSG now

o Ready to assume positions with increased reponsiblity
o Superb knowledge and expertise withall detachment weapons

 

b. RATER. List 3 positions in which the rated

NCO could best serve the Army at his/her

current or next higher grade.
SF Company Asst. Opns SGT
Instructor USAJFKSWCS

Special Forces Wpns SGT 18B4

 

 

 

 

 

 

 

 

 

 

c. SENIOR RATER. Overall performance d. SENIOR RATER. Overall potential
for promotion andjor sarvice in
12 3 4 5 positions of greater respansibility. 1 2 3 4 5
+ Successtul Fair Poor Superior Far Pear
USAPPC v2.10

 

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Ey , RRs eb OR Se Sets

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Case 8:21-cr-00348-SCB-SPF Document 345-4 Filed 03/27/23 Page 5 of 84 PagelDb-5144—__

 

 

 

 

 

 

 

 

 

 

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[ 4 NCO EVALUATION REPORT SEE PRIVACY ACT STATEMENT
For use of this form, sea AR 623-205; the proponent agency is DCSPER IN AR 623-205, APPENDIX E. +
PART 1- ADMINISTRATIVE DATA

a. NAME (Last, First, Aidhile Initial) b. SSN c. RANK 6. DATE OF RANK e. PMOSC

BROWN, JEREMY M. XXX-XX-XXXX SSG 980401 | 18B3V
4. UNIT, ORG., STATION, ZIP CODE OR APO, MAJOR COMMAND g. REASON FOR SUBMISSION |

A CO, 3RD BN, 1ST SFG(A), FT. LEWIS, WA. 98433 USASOC 02 | ANNUAL

h. PERIOD COVERED Waris ae Sar OF I. RATED NCO COPY (Check one and Datel m. PSC n. CMD 0. PSC
a a cones 1. Given to NCO "bate a cone CODE

 

 

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02M

98 99 Ol 11 s D X | 2. Forwarded to neo ANpay2 MAI SP FS06

PART II - AUTHENTICATION

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

a. NAME OF RATER (Last, First, Middle Initisl) SSN SIGNATURE
TABIOS, ANDRES S. XXX-XX-XXXX Ades ST Tab bb
RANK, PMOSC/BRANCH, ORGANIZATION, DUTY ASSIGNMENT DATE
MSG, 18250, A CO, 3RD BN, 1ST SFG(A), Special Forces Detachment Sergeant _. D4 Dp 27/2
b. NAME OF SENIOR RATER (Last, First, Middle Initia SSN
CHAMNESS, JASON B. XXX-XX-XXXX/ | eye
RANK, PMOSC/BRANCH, ORGANIZATION, DUTY ASSIGNMENT { DATE
CPT, SF, A CO, 3RD BN, 1ST SFG(A), Special Forces Detachment Commander GIDAY 7.
C. RATED NCO: [understand any signature dees not constitute agreemeat or disagreernent with e ATURE DATE
wi . Part I heightiwenght and APFT entries are verified. oe
ier mea nga cogbtd Soni Par all sere aos se oon | ™ . Bow. q GD3GZ
d. NAME OF REVIEWER (Last, First, Middle Initial) SSN q TURE
D'AMBROSIO, JOHN XXX-XX-XXXX—- ti |) Fd
RANK, PMOSC/BRANCH, ORGANIZATION, DUTY ASSIGNMENT DATE
MAJ, SF, A CO, 3RD BN, iST SFG(A), Special Forces Company Co der AGDAOZ
e. [Sc] CONCUR WITH RATER AND SENIOR RATER EVALUATIONS [| NONCONCUR WiTH RATER ANDIOR SENIOR RATER EVAL (See attected comments)
PART il - DUTY DESCRIPTION (Rater)
a. PRINCIPAL DUTY TITLE b. DUTY MOSC
Special Forces Weapons NCO 18B4VTH

 

 

c. DAILY DUTIES AND SCOPE (To include, as appropriate, people, equipment, facilities and dolfers)

Serves as senior weapons sergeant for a Special Operations Detachment; proficient in maintenance, operation,
and employment of US and foreign direct and indirect fire weapons systems; provides the detachment and
indigenous forces with expertise in small unit tactics; responsible for both light and heavy weapons utilization;
advises the commander in the employment of supporting weapons, conventional and unconventional tactics;
capable of instructing light infantry tactics up to Company level; assist in writing OPLANs and OPORDs.

d, AREAS OF SPECIAL EMPHASIS JCS Exercise Foal Eagle in Republic of Korea; JCET Exercise Balance Style; detachment
OPT Able Pyhric in Panama; SOT, and S schools

e. APPOINTED DUTIES Range Safety NCO; Ammo NCO; Hazardous Material NCO

 
    

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

f. Counseling dates from eheckist/record INITIAL LATER LATER LATER
980216 980518 980910 990114
PART IV - VALUES/NCO RESPONSIBILITIES (Rater)
a. Complete each question. (Comments are mandatory for "No" entries; optional for “Yes” entries.) ves | so
1, Places dedication and commitment to the goals and missions of the Army and nation above personal wellara, 1
PERSONAL 2 Iscomnytted to and shows a sense of pride in the unit - works as 8 member of the team. 2
Y Conpetonce 3. Is disciplined and obedient to the spirit and letter of a favrfud order. 3
Candor 4. Is hoeest and truthful in word and deed. 4
A Courage §, Maintains bigh standards of personal conduct on and off duty. 5
L o**, 6. Hes the courage af convictions and the ebility to overcome fear stands up for and does, what's right. 8
“eee Wi. Supports EQIEED. 7
U 2°’ Bullet corments
ARMY ETHIC oe o Tireless commitment to unit mission accomplishment
Buty E o Highly competent instructor
Selffess Service S .
lategrity o Places mission and peers ahead of personal interests
+

 

 

 

 

DA FORM 2166-7, SEP 87 REPLACES DA FORM 21666, OCT 81, WHICH IS OBSOLETE usapee v0

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Case 8:21-cr-00348-SCB-SPF ‘Document 345-4 Filed 03/27/23 Page 6 of 34 PagelID 5115

 

[RATED NCO'S NAME Last. Ast, Middle Initia) SSN 7 THRU DATE
+ BROWN, JEREMY M. XXX-XX-XXXX 9901 +
PART IV (Rater) - VALUESINCO RESPONSIBILITIES Speck: lade crane of SOC ence MOOONEMENT: tre manda.

b. COMPETENCE o Successfully completed the Special Operations Training SOT
Duty proficiency; MOS
© Techical 8 tactical knowedge, sls, and course

 

 

 

abifities

° Seok aE a ovement always learning o Technical and tactical knowledge sought out by superiors and peers
© Accomplishing tasks to the fullest capacity; alike

committed to excellence
‘erceedestd © oateciy “"*SSMPROVEMENT |) Wrote concept for detachment OPT Able Pyhric

std) (Meets std

 

 

 

 

c. PHYSICAL FITNESS & MILITARY BEARING Appt PASS 9811 | HEIGHTIWEIGHT 72/175 YES
0 Mental and physical toughness
0 Endurance and stemina to ga the distance o Scored 287 on last APFT
© Displaying confidence and enthusiasm;
looks like a soldier . . .
: 0 Projects self-confidence, enthusiasm and a strong personal desire for
excellence
EXCELLENCE SUCCESS NEEDS IMPROVEMENT
(Exceeds std} “Sa Some) — (Much
@. LEADERSHIP o Maintains mission focus and professional bearing during stressful
0 Mission first situations
o Genuine concem for soldiers
0 Instilling the spirit to achieve and wi
© Soling the example Knows De o Graduated from-the USAJFKSWCS SERE course
EXCELLENCE SUCCESS NEEDS IMPROVEMENT
(Exceeds std} (Meets std} Some) — Much}
&. TRAINING 0 Developed marksmanship cross-training plan that resulted ina
Individual and t eo
0 Mission focused: performance ornted 100% of.the team qualifying expert
© Teaching soldiers how; common tasks,
0 Shaing knvwledge and eapeience to fight, o Provides the detachment with realistic and challenging weapons
survive and win training
(Beets std) Mestecta Msone Mea o Trained, mentored and evaluated 32 foreign soldiers during an

fl] OCONUS JCET in a medium threat Asian country

f. RESPONSIBILITY & ACCOUNTABILITY intai ili i
© Cate and maintenance af ene Hides o Maintains 100% accountability and readiness of all detachment

0 Soldier and equipment safety weapons and optics
© Conservation of supplies and funds

© Encouraging soldiers to leam and grow : § ant * ce
0 Responsible for good, bad, right wrong o Ensures safety is top priority during all team training

 

EXCELLENCE SUCCESS NEEDS IMpRovemenr {0 Works independently without direct supervision
(Exceeds std} Meets stdj (Some} uch)

a Ot
PART V- OVERALL PERFORMANCE AND POTENTIAL

a. RATER. Overall potential for promotion and! e. SENIOR RATER BULLET COMMENTS

or service in positions af greater responsibilty. o Exceptionally tactically and technically proficient
AMONG THE FULLY . Lae
BEST CAPABLE MARGINAL 0 Unlimited potential in any endeavor

 

 

X] | ] __0 Constantly seeks opportunities to continue his professional
b, RATER. List 3 positions in which the rated development
NCO coutd best serve the Army at hisfher

current or next higher grade. ' Jo Promote ahead of peers
Senior Weapons NCO

SWC Instructor

JRTC Observer/Controller

 

 

 

 

 

 

 

c. SENIOR RATER, Overall performance d. SENIOR RATER. Overall potential
: for promotion and/or service in |

 

 

 

 

1 203 4 6 positions of greater responsibiity. 12 8 4 5
+ Successted foe Poor Superiec For Poe
USAPPC ¥3.10

 

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CORE wah De

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+ NCO EVALUATION REPORT SEE PRIVACY ACT STATEMENT +
For use of this form, see AR 623-205; the proponent agency is DCSPER EW AR 623-205, APPENDIX E.
PART }- ADBIRISTRATIVE DATA
fn. MAME (Last, Fist, Mihi fatiod b. SSN c. RANK Ja DATE oF AAD a. PMOOSt
Brown, Jeremy M. XXX-XX-XXXX SSG | 970104 | 18B3VW8TH
rf. UNIT, ORG., STATION, ZIP CODE OR APO, MAJOR COMMAND ¢. REASON FOR SUBMISSION
A Co, 3rd Bn, ist SFG(A), Ft. Lewis, WA 98433 USASOC | 02 | Anmual
h. PERIGO COVERED TRATED [fp NOW NO.OF [1 RATEDNCO COPY (Check ane and Date} m PSC a C0 ®
_—nee ta Mowe om 1. Given te NCO Sete ™ ome =
39 02 | 0 " 01 ll s Oo 2. Forwerded to NCO GPO2ZS $i, SP FS06
PART II . AUTHENTICATION
a. NAME OF RATER (Last, First, Middle lotto) SSN Si
Tabios, Andres S. XXX-XX-XXXX Prvdaas L, Tabac
RANK, PMOSCIBRANCH, ORGANIZATION, DUTY ASSIGNMENT ° DATE
MSG, 18Z5PW8, A Co, 3rd Bn, Ist SFG(A), Special Forces Detachment Operations Sergeant . Zr FER ee
b, WAME OF SENIOR RATER (Last, Fist, Mudie hnitiol SSN
Pelleriti, John A. XXX-XX-XXXX ¢ a ZLB
RANK, PMOSCIBRANCH, ORGANIZATION, DUTY ASSIGNMENT 7 DATE
CPT, SF, A Co, 3rd Bn, Ist SFG(A), Special Forces Detachment Commander 2? fen Le
© nee sol Sona edeei ram Pet eee \ on ~ oe =
aie eee | sm avvere of the appests provers (AR 823-205). q_ ren iMerlad Kar-—~ 2k rE Bs
d. MAME OF REVIEWER (ast, First, Abide hitiad SSN /AGHATURE /7 |
Burwell, Daniel G. 375-74.1500 | Dakteh 42 Burst
RANK, PMOSC/BRANCH, ORGANIZATION, DUTY ASSIGNMENT DATE
MAJ, SF, A Co, 3rd Bn, Ist SFG(A), Special Forces Company Commander 2Y ten po

 

e. SX CONCUR WITH RATER AND SENIOR RATER EVALUATIONS

| NONCONCUR WITH RATER ANDIOR SENIOR RATER EVAL (See attached commects)

 

PART it - DUTY DESCRIPTION (Rater)

 

a. PRINCIPAL DUTY TITLE
Special Forces Weapons NCO

b. DUTY MOSC
18B4V

 

 

c. DAILY DUTIES AND SCOPE (To inckde, as sppropriete, people, equipment, facilities and dollers)
Serves as senior weapons sergeant for a Special Operations Detachment; proficient in maintenance, operation,
and employment of US and foreign direct and indirect fire weapons systems; provides the detachment and
indigenous forces with expertise in small unit tactics; responsible for both light and heavy weapons utilization;
advises the commander in the employment of supporting weapons, conventional and unconventional tactics;
capable of instructing light infantry tactics up to Company level; assist in writing OPLANs and OPORDs. i

 

 

SOTIC and Static

d. AREAS OF SPECIAL EMPHASIS JCS Exercise Cobra Gold, Thailand; Detachment OPTs Able Nectar I and TI, A
New Mexico; Sen II Support, Fort Bragg, North Carolina; Military Free Fall Parachutist Course,
ine Jumpmaster.

e. APPOWTED DUTIES Static Line Jumpmaster; Range Safety NCO; Ammo NCO; Hazardous Material NCO ‘

Ibuquerque, |

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

{. Counseling dates from checkistirocord INITIAL LATER LATER LATER
990215 990520 990913 000120
PART IV - VALUES/NCO RESPONSIBILITIES (Rater)

a. Completa cach question. (Comments ere mendatory for "No" extries; optional for “Yes” entries.) res | |
PERSONAL 1. Plncas dedcetion and commrtment to the goola and massecs of the Army and neten shove personal welfere. 1 :
2 Is commuted to and shows a sence of pride m the wat - works as a member of the am 2 :
Vv —— 3 1s dcipined ard checient to the apart arci letter of o lowhd erdar. 3 |
Cender 4 Ishonest end truthhd m weed ond dood. 4
A Courage § Mantons logh standards of personel conduct on and off duty 5 '

L @. Hes the cowage of canwctons and thy ability to ovmvome feor - stonds up fer and dees, what's nga. e

7 Sepports EQEEO ?

U Bellet comments
ARMY ETHIC o Totally committed to the Special Forces mission
Loyelty :
Doty E o Highly competent instructor |
Selfless Servi Ss
Integeity o Displays the highest degree of honesty, loyalty, and integrity |
+
DA FORM 2166-7, SEP 87 REPLACES DA FORM 2166-6, OCT 81, WHICH IS OBSOLETE USAFFC woe

DISC-09574
-- Case 8:21-e€r-00348-SCB-SPF - Document 345-4 Filed 03/27/23 Page 8 of 34 PageID 5117

 

Sa
RATED NCO'S NAME (Last, First, Middle Initis

 

 

 

 

SSN THRU OATE

‘++ Brown, Jeremy M. XXX-XX-XXXX 0001 +
PART IV Rater] - VALUESINCO RESPONSIBILITIES Nae, SOE re apameat NM ROVEMENT” are mendstey
cow cane MOS competency o Graduated top 10% from the rigorous Static Line Jumpmaster Course

© Technece! & tactical; knowledge, skils, and eqs ‘

obiites o Successfully completed the SOTIC and Military Free Fall Parachutist
Sn Courses
ung selfamprovement; always lesming

0 Accompkshing tasks to ihe fullest capecity; . . . .
commuted to excellence ‘
EXCELLENAS guess uecrsiNaPROVEMEAT o Qualified expert with all assigned MeOe as consistently employs
jeets sid} (Some) (Mech)

 

 

 

 

 

fxcoeds std) primary and secondary weapons in CQC with 100% accuracy
¢. PHYSICAL FITNESS & MILITARY BEARING art PASS 9910 | HEIGHTAVEIGHT 72/165 YES
0 Mentel end physical toughness
o Endurence and stamina to go the distance o Scored 278 on last APFT
0 Displeying confidence and enthusiasm;
hooks kke a soldier 7 : : :
o Possesses the mental and physical stamina to accomplish any given
mission
EXCELLENCE SUCCESS NEEDS IMPROVEMENT
fExcoeds sof (Meats std} (Some) — {Much}
_. IK [i C1
J ER o Always put the mission and detachment ahead of personal needs
OOM re aie Ekerewnd wi o Developed extremely realistic CQC shooting scenarios which
0 Setting the example; Be, Know, Do greatly improved the team's level of proficiency
o Excelled in training and leading; always inspired confidence in the
wecumar  guceey, —mazewmrogge™ |" team’s shooting ability
oag— TT
®. o His expertise was responsible for the detachment qualifying expert on
isin Secnod orftsioca edened both the M-4 rifle and the M-9 pistol P
ae R ized by SWC C der f Ii during SFQC Ph
o Recognized by ommander for excellence during ase
0 Shang knowledge and experience to fight, Ill Red Cycle Support
fheetdestd: estes Mon mm fo Primary instructor for two detachment CQC OPTs which resulted in
&M f] ry) fq the team receiving 100% go on all CTEs and stress test
I O Cet ond Gounbenenonal evo facies o Supervised over 250 hours of advanced marksmanship CQC live-fire

| Serves
tion

o Eneouragg solder olan and grow o Maintained 100% accountability and readiness of all detachment

0 Responsible for good, bad, right & wrong weapons and optics

resulting in no accidents or lost man hours

EXCE UCCESS NEEOS IMPROVEMENT . . . ws .
Orcomts 16h fects sy on o Worked independently without direct supervision and achieved

(Some) (Much) \ .
| DX C | r] ef impressive results

PART V - OVERALL PERFORMANCE AND POTENTIAL

 

 

 

a. RATER Overall potential for promotion and/ e, SENIOR RATER BULLET COMMENTS

eriservica i pamans of grset6ycespensibaty. o Promote ahead of peers
AMONG THE FULLY . . . .

BEST CAPABLE MARGINAL o Exceptionally tactically and technically proficient

] [] o Outstanding teacher whose knowledge of Close Quarter Combat is

b RATER. List 3 positions in whach the rated highly sought after by peers and superiors

NCO could best serve the Army at his/her

curcent or next higher grade.

o Constantly seeks opportunities to continue his personal and
SFODA Senior Weapons NCO professional development

USAJKKSWC SFARTEAC Instructor

JRTC Observer/Controller

c. SENIOR RATER Qverel performance d. SENIOR RATER. Overall potential El
for promotion andfor service in

12 3 4 5 positions of greater responsibility. 1 2 3 a §
“++ Sopenor fac Poor

 

 

o Unlimited potential for positions of greater responsibility

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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ch SURES: CoS Sea Fer. Po IRE. ae eT
wa nese, [GS OBE. Lise SBTC ea

Stee PI LSD gt Se
TSAte BARS So See,

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+ CO EVALDAVION REPORT SEE GIRLY ACY SATE +
Fos wap of this form, sen AR 623-206 the is BESPER WAS 3-205, PEE
PART | - ADUUUESERATIVE :
‘a. WARE lore Fist, Slide Initio & sos c RK OATE GF QAIK e Maes
Jexemy M. 2A6-27-1100 SSG F104 ISsGVWSTH

, Gils, STATION, ZIP CODE OR APO, SRAJOR COMMAND MASI

A Co, 3rd Bn, ist SFG(A), Ft Lewis WA 98433 USASOC 03 _ Change of Rater
bh. PEROD COVERED L RAT a oe L RATED NCO COPY lord exe and Bote) a

rao TURD 1. Ghoan to CD oom se a a
WwW df Ww im
00 02 00 09 08 | | 2. Ferveended to lca SP FS06

 

 

 

PART 0 - AUTIENTICATION

 

 

 

 

 

8. GAME OF RATER Aoat, First, Alle tubing
, Scott 492-170-6199 y
(ANE, PIRDSCIARANCH, ORGAIRZATION, DUTY ASSSEDINENT -

MSG, 18Z5VW3, A Co, 3rd Bn, 1st SPG(A),Special Forces Operations 70 Oct00
to. GONME GF SEBROR RATER Mest, First, Mitte thing ss

Walker, Eric L. XXX-XX-XXXX

RAGK, PROSCHANCH, ONEASIZATION, DUTY ASSIGNMRITT
CPT, SF, A Co, sere, ae | he 00

 

 

 

 

C. CODD Oe (ete gy ee bors et qe Cag th TURE

ea gmat! (Lezeng Bat 0 04D
&. CARRE OF REVIEWER (last, frst iiiAlle hnitieg
Cartson, Mask J. XXX-XX-XXXX VA t_ go a

RAGIK, PIROSCIBRANTH, GRRAMIZATION, DUTY ASSIGNMENT
MAJ, SF, A Co, 3rd Bn, Ist SFG(A), Special Forces Company Commander

 

 

 

 

 

 

 

[ec] cance wrt nares sm soon xen exnarons [| RONCONCUR WITH GATER ANDNUR SEMOR RATER EW. Ge attached commmaty
PART H) - DOTY DESCRIPTION (ates)

eo. PRENGIPAL DUTY TITLE & OUTY mOSt

j Special Forces Weapons NCO 18B4AV

 

€. DARY CUTIES AND SCOPE (To inclale, 03 anpeapeiot, ponple, equipment, toriities and dollars!
Serves as senior weapons sergeant for a Special Forces Operational Detachment Alpha (A); proficient in

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

maintenance, operation, and employment of US and foreign direct and indirect fire fire weapons systems; provides
the detachment and indigenous forces with expertise in small unit tactics; responsible for both light and heavy
weapons utilization, advises the commander in the employment of supporting weapons, conventiosal and
unconventional tactics; capable of instruction in tactics up to level.
4, MEAS OF SPEC. CAPHASE Counter Drug Exercise Baker Mint, Malaysia; Detachment s Able Windslab and Able
« arrcammoures Static Line Range Safety NCO; Detachment Ammunition Accountability NCO;
Company Close Quarter Combat imiracnn
[ Connecting dates trac ehecitistheresd IeMAL 000428 aT oo0715 ATER
PART [¥ - VALUESHICO SESPOMSIBITIES (Rete)
a, Complete cach question. Mnanwats are aupelstory for We" extriexs eptional for “Vos” extrisx} ws | @
1, Pacem daa tho pecs of Gn hang tow '
FERSOMAL 2, tnepumitted to end shows 0 coma of pebda ts tn ot - washes on onsuier of Gon, 2
y eee & batt otc pest thes datess, 3
Conder @ boheme ant eth b word ent dent, a
A Compe G. Stchstains high stomfunds of parmnel contest on col ofl dy, 6
L a iIn@exnydenttiumth Aéybassts-cotgtedtiéa cht e
1. Sob BR. ?
U Stet coma
, AROEY ETHIC © Extremely mature and disciplined soldier
fat E o Integrity and ethical standards of highest caliber
Sts Sorecco S .
intagaity 0 Willingly sacrifices own time for mission accomplishment
+
GA FORM 2166-7, SEP 87 REPLACES DA FORM 21666, OCT 81, WHICH IS OBSOLETE

 

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OOo a a
RATED NCO'S NAME (Last, First, Middle Initial) SSN THRU DATE
+ Brown, Jeremy M. XXX-XX-XXXX 00 09 +
PART IV (Rater) - VALUES/NCO RESPONSIBILITIES eee: amet Sxamores of SBUC CESS wre tency) MPROVEMENT” are mandatory.
b. © Duty profidency; MOS com, o Commended by the U.S. Ambassador to Malaysia for his training of

oT & tactical; knowledge, skills, and 32 senior ranking Royal Malaysian Police during Baker Mint 00-0
es

abilitie
© Sound judgment . o Conducted superior marksmanship training resulting in the entire
° ‘Acoonlishirgy tavke to the fullest a: ODA scoring expert with the M-4 iifle and the M-9 Fistol

committed to exce!

fear Ra earreresg"

 

 

c. PHYSICAL FITNESS & MILITARY BEARING APFr PASS 0005 | HEIGHT/WEIGHT 72/176
© Menta! and physical toughness 7
o Endurance end stamina to go the distance o Scored 300 on his last APFT
© Displeying confidence and enthusiasm:
tooks ke a soldier

o Maintains vigorous off-duty weight training program

fexcesdsntc) (Mesut) onal “ian” {o Always maintains the highest standards of military bearing and

[] appearance sets the standard for others to achieve

 

d. LEADERSHIP o Safely led his assault team in 30 high risk live fire CQC training
© Baniny ce cer for soldiers scenarios which enhanced mission readiness
© instilling the spirit to achieve and win . ‘ :
© Setting the exemple; Be, Know, Do 0 Outstanding group leader of 12 Royal Malaysian Police officers for
two weeks of instruction on the military decision making process

Tenceods sid) (Mose en) Nero POVEMENT Io Always puts mission and detachment ahead of his personal needs

[| x [) CI

 

®. aes end teem o Planned, coordinated, and executed over 100 hours of high risk
0 Mose, wes performance oriented CQC training which greatly increased unit readiness
© Teeching soldiers how; common tasks,

° Sharing knowiodge and experience to fight, 1° Responsible for planning and conducting ten airborne operations
survive and

without incident, loss of equipment, or loss of man hours
(exceeds std) (Mocts std)" iSomel “iatecny™ [0 Trained three Special Forces Detachments in advanced
[] marksmanship Close Quarters Combat tactics and techniques

 

f. RESPONSIBILITY & ACCOUNTABILITY _ 0 Maintained and accounted for $137,000 worth of ammunition and
° ae wend eavipnent oes demolitions for two quarters without incident

0 Conservation of supplies and funds
° Reopor Phe tor good. bed nant 8 ereng o Personally ensured 100% accountability of over $100,000 of SFODA

 

 

equipment

ELLENCE 8suUCCc NEEDS IMPROVEMEN . . .

XCeLLs a ons, (Some) ene Tho Implemented strict maintenance standards for the detachment which
Sq il ensured all weapons systems were 100% "go to war" ready
PART V - OVERALL PERFORMANCE AND POTENTIAL

8. RATER. Overall potential for promotion and/ e. SENIOR RATER BULLET COMMENTS

or service in positions of greater responsibility.
AMONG THE FULLY o Promote immediately and send to ANCOC

BEST CAPABLE MARGINAL

o His experience, knowledge, and leadership will benefit any Special

{| [] Forces team

b. RATER. List 3 positions in which the rated

 

 

 

 

 

 

 

 

 

 

 

 

 

NCO coula best serve the Army at his/her o Assign him challenging tasks, jobs, and assignments
current or next higher grade. .
Instructor _USAJFKSWCS o Unlimited potential in Special Forces
JIRTC O/C
Company Asst OPNS sergeant
c. SENIOR RATER, Overall performance x ae d. SENIOR RATER. Overall potential Be
for promotion and/or service in
12 3 4 § positions of greater responsibility. 1 2 3 4 5
+ Successful Far Poor Superior Faw Poor

 

 

 

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Case 8:21-cr-00348-SCB-SPF Document 345-4 Filed 03/27/23 Page 11 of 34 PagelD 5120

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

  
     

 

 

 

 

 

 

 

 

+ NCO EVALUATION REPORT SEE PRIVACY ACT STATEMENT +
For use of this form, see AR 623-205; the proponent agency is ODCSPER IN AR 623-205, APPENDIX C.
PART | - ADMINISTRATIVE DATA
a. NAME (Last, First, Middle Initial} b. SSN c. RANK d. DATE OF RANK | e. PMOSC
BROWN, JEREMY M. XXX-XX-XXXX SSG 980401 18E3PW8QB
f. UNIT, ORG., STATION, ZIP CODE OR APO, MAJOR COMMAND g. REASON FOR SUBMISSION
CO A, 3RD BN, 7TH SFG(A), FT BRAGG NC 28310 (USASOC) 03 | CHANGE OF RATER
h. PERIOD COVERED t. RATED fj. NON-  [/k. NO.OF | |. RATED NCO COPY (Check one and Date} | ™. PSC n. CMD Jo. PSB
MONTHS § RATED ENCL Initials CODE CODE
FROM THRU Panes 1. Given to NCO Date
YYYY MMI YYYY MM ,
2001 10 | 2002 06 09 2. Forwardedtonco | f OJolO2 | LQ SP FS27
PART II - AUTHENTICATION yy, _ 1
a. NAME OF RATER (Last, First, Middle Initial! SSN SIGNATURE _-~
KLUCK, CHRISTOPHER D. XXX-XX-XXXX fe \) Lie.
RANK, PMOSC/BRANCH, ORGANIZATION, DUTY ASSIGNMENT ON DATE
MSG, 18Z50, CO A, 3RD BN, 7TH SFG(A) COMPANY OPERATIONS SERGEANT , Aa A Oo’ U 0
b. NAME OF SENIOR RATER (Last, First, Middle Initial] SSN SIGNATURE {} —>
HUNTER, EDWARD D. XXX-XX-XXXX
RANK, PMOSC/BRANCH, ORGANIZATION, DUTY ASSIGNMENT DATE
MSG(P), 18Z50, CO A, 3RD BN, 7TH SFG(A) COMPANY SERGEANT MAJOR ] Og OLOL
. understang my signature does not Constitute agreement or disagreement with t
evaluations of the rater and a rater. | further understand my sinature verifies that the sdmunstraive SIGNA E DATE .
Hecate eet speech Mee Sec. apy os cme oc He ME— 10 TvL0e
d. NAME OF REVIEWER (Last, First, Middle Initial) SSN SIGNATURE
QUIROS, ALFREDO R. XXX-XX-XXXX — -
RANK, PMOSC/BRANCH, ORGANIZATION, DUTY ASSIGNMENT ~ DATE
MAJ, SF, CO A, 3RD BN, 7TH SFG(A) COMPANY COMMANDER lO Julde
| XI CONCUR WITH RATER AND SENIOR RATER EVALUATIONS [] NONCONCUR WITH RATER AND/OR SENIOR RATER EVAL (See attached comments}
PART Ill - DUTY DESCRIPTION (Rater)
a. PRINCIPAL DUTY TITLE b. DUTY MOSC
Company Senior Communications Sergeant 18E4PQB

 

 

c. DAILY OUTIES AND SCOPE (To include, as appropriate, people, equipment, facilities and dollars)

Serves as the senior communications NCO of a ten man ODB detachment; advises the Commander and
Sergeant Major on all communications matters in an 82 man company; supervises, plans and instructs personnel
and organizations up to battalion size; performs communications duties during Foreign Internal Defense (Light
Infantry/Counter Narcotics), Direct Action, and Special Reconnaissance missions; responsible for equipment
valued at $400,000; capable of performing all duties in English and Spanish

d. AREAS OF SPECIAL EMPHASIS Prepare and execute coomo support for Joint Planning and Assistance Team
Bolivia; Prepare and coordinate communications requirements for JRTC AOB deployment and 12 ODA
OCONUS deployments. Rater; christopher.kluck@ S/R; edward.hunter@ Rev; alfredo.quiros@

e. APPOINTED DUTIES Company Schools/Language NCO; Company Fire Marshall; Company EMS NCO;
Company Safety NCO

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

f. COUNSELING DATES INITIAL LATER LATER LATER
20011010 20020115 20020325
PART IV - ARMY VALUES/ATTRIBUTES/SKILLS/ACTIONS (Rater)
a. ARMY VALUES. Check either “YES” or "NO". c are y for “No” 1p for "Yes" entries.) YES | NO
1, LOYALTY: Bears true faith and allegiance to the U. S. Constitutlion, the Army, the unit, and other soldiers. x
Loyalty 2. OUTY: Fultills their obligations. x
V Duty 3. RESPECT/EO/EEO: Treats people as they should be trested. x
Respect | 4, SELFLESS-SERVICE: Puts the welfare of the nation, the Army, and subordinates before their awn. xX
A Selfless-Service
5. HONOR: Lives up to all the Army values. x
L 6. INTEGRITY: Does what is right - legally and morally. x
7. PERSONAL COURAGE: Faces fear, danger, or adversity (physica! and moral). x
U Bullet comments
0 loyalty to the Company and the United States Army is above reproach
Honor : .
Integrity E o demonstrates a high standard of respect for others under all circumstances
Personal Courage S . , . hoes
o the epitome of selfless service; lives by the motto "mission first"
DA FORM 2166-8, OCT 2001 REPLACES DA FORM 2166-7,SEP 87, WHICH 1S OBSOLETE USAPA V1.00

 

DISC-09609
Case 8:21-cr-00348-SCB-SPF Document 345-4 Filed 03/27/23 Page 12 of 34 PagelD 5121

 

RATED NCO'S NAME (Last, First, Middle Initial) SSN THRU DATE
+ BROWN, JEREMY M. jeremy.brown@ XXX-XX-XXXX 200206 +

 

 

 

PART IV (Rater) - VALUES/NCO RESPONSIBILITIES

Specific Bullet examples of “EXCELLENCE” or “NEEDS IMPROVEMENT * are mandatory.
Specific Bullet examples of “SUCCESS” are optional,

 

b. COMPETENCE

Duty proficiency; MOS competency

Technical & tactical; knowledge, skills, and
abilities

Sound judgment

Seeking self-improvement; always learning

Accomplishing tasks to the fullest capacity;

committed to excellence
EXCELLENCE SUCCESS NEEDS IMPROVEMENT
| (Meets std)

(Exceeds std} {Some} (Much}
c. PHYSICAL FITNESS & MILITARY BEARING

oo

0
°o
°

0 provided superb commo support to the Joint Planning and
Assistance Team in Bolivia making 100% of all scheduled contacts

o lauded by the BN Commander for a unique and comprehensive
commo plan (PACE) during a "first ever" urban JRTC rotation

o single-handedly coordinated commo efforts for a company level
urban reconnaissance mission which required multiple commo systems

 

[x

o Mental and physical toughness

o Endurance and stamina to go the distance

o Displaying confidence and enthusiasm;
looks like a soldier

EXCELLENCE
(Exceeds std)

SUCCESS
(Meets std)

[x]

NEEDS IMPROVEMENT
{Some} (Much)

(| 1]

APFT PASS 0206 | HEIGHT/WEIGHT —_—-72/168 YES

 

o scored 262 on APFT

o team member of an endurance event team which placed 3rd in
Company events and Sth in Battalion events

 

d. LEADERSHIP
o Mission first

© Genuine concern for soldiers
0 Instilling the spirit to achieve and win . . wo. . we
© Setting the example; Be, Know, Do o his natural leadership characteristics allowed him to positively
influence the other 18E's, both peers and those senior
fexceeds sta) (Mosts std) S'iSoney Ween |O supervised six 31 series radio operators during demanding JRTC
Py} x] FL] fretation
e. TRAINING

0 consistently sought out by his fellow communicators as the SME on
the newest communications equipment

 

0 Individual and team

o Mission focused; performance oriented

0 Teaching soldiers how; common tasks,
duty-related skills

o Sharing knowledge and experience to fight,
survive and win

EXCELLENCE SUCCESS
(Exceeds std) (Meets std} (Some) (Much)

[x] [ [|] []

NEEDS IMPROVEMENT

o willingly augmented 5 of the 6 company ODA's for deployments
and training, expertly supplying them with first rate commo support

Oo expertly trained all company 18E's on newly acquired detachment
MTOE communications systems

o ensured all ODB personnel were capable of establishing
communications with each assigned radio system

 

f. RESPONSIBILITY & ACCOUNTABILITY
o Care and maintenance of equipment/facilities
o Soldier and equipment safety
o Conservation of supplies and funds
0 Encouraging soldiers to learn and grow
o Responsible for good, bad, right & wrong

EXCELLENCE SUCCESS NEEDS IMPROVEMENT
(Exceeds std} (Meets std) {Some} (Much)
[Xx] C1] f] Ty

0 flawlessly maintained 100% accountability of over $400,000 dollars
of Special Forces Company MTOE communications equipment

o totally restructured the company's communication assets and _
facilities for increased efficiency of maintenance and accountability

 

PART V - OVERALL PERFORMANCE AND POTENTIAL

 

a. RATER. Overall potential for promotion and/or
service in positions of greater responsibility.

AMONG
THE BEST CAPABLE MARGINAL

[x] [ | [I]

FULLY

e. SENIOR RATER BULLET COMMENTS
oO must promote to SFC now

oO must select to attend ANCOC now

o will best serve the Army in any position of the next higher grade;

 

b. RATER. List 3 positions in which the rated
NCO could best serve the Army at his/her
current or next higher grade.

Detachment Senior Commo Sergeant
Signal Detachment Platoon Sergeant
SWCS Senior Commo Instructor

especially as an ODA senior communications sergeant

o displays unparalleled technical and tactical proficiency in two 18
series MOS's; possesses a vast arsenal of warrior skills

 

 

 

 

 

 

 

 

 

 

 

c. SENIOR RATER. Overall performance x a d. SENIOR RATER. Overall potential x i
for promotion and/or service in
1 2 3 4 6 positions of greater responsibility. 1 2 3 4 6
+ Successfut Fair = Poor Superior Fair Poor

 

 

 

 

DA FORM 2166-8, OCT 2001

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Case 8:21-cr-00348-SCB-SPF Document 345-4 Filed 03/27/23 Page 13 of 34 PageID 5122

 

 

 

 

 

 

 

 

 

 

 

+ NCO EVALUATION REPORT SEE PRIVACY ACT STATEMENT _,_
For use of this form, see AR 623-205; the proponent agency is ODCSPER IN AR 623-205, APPENDIX C.
PART | - ADMINISTRATIVE DATA
a. NAME (Last, First, Middle Initial) b. SSN c. RANK a. DATE OF RANK | e. PMOSC
BROWN, JEREMY M. XXX-XX-XXXX SFC 030101 18E4PW8QB
rf. UNIT, ORG., STATION, ZIP CODE OR APO, MAJOR COMMAND 9. REASON FOR SUBMISSION
CO A, 3RD BN, 7TH SFG(A), FT BRAGG, NC 28310 (USASOC) 02 | ANNUAL
h. PERIOD COVERED . RATED |). NON- k.NO. OF | 1, RATED NCO COPY (Check one and Date) |™ PSC n. CMD o. PSB
FROM THRU MONTHS a ENCL imawenie nen Date Intteals CODE CODE

 

YYYY  MM| YYYY MM

2002 07 2003 06 12 2. Forwarded to NCO UY. f / 03 RE SP FS27
PART fi - AUTHENTICATION ,

a, NAME OF RATER (Last, First, Middle Initial) SSN ORE A) Zz YZ
BACK, JOSEPH W. XXX-XX-XXXX Ken .
RANK, PMOSC/BRANCH, ORGANIZATION, DUTY ASSIGNMENT Ke ? —_
SFC, 18F40, CO A, 3RD BN, 7TH SFG(A) COMPANY OPERATIONS SERGEANT
b. NAME OF SENIOR RATER (Last, First, Middle Initial) SSN SIGDHYTU
HUNTER, EDWARD D. XXX-XX-XXXX
RANK, PMOSC/BRANCH, ORGANIZATION, DUTY ASSIGNMENT DATE
SGM, 18Z50, CO A, 3RD BN, 7TH SFG(A) COMPANY SERGEANT MAJOR /f,

. > Tunderstand my signature does not constitute agreement of disagreement with the
evaluations of the rater and senior rater | further understand my sgneture verifies that the administrative Pe DATE
a

 

 

 

 

 

 

 

 

 

 

 

 

 

 

DATE

14/03

     
    
 
 

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‘ta in Part 4, the rating officials in Part ll, the duty description to include the counseling dates in Part Ill, and

the APFT and height/weight entnes in Part We are correct. ' have en the report completed through Part V, E_ L141 PY. iy . J, / O 3
d. NAME OF REVIEWER (Last, First, Middle Initial) SSN SIGNATUR
WHITE, WILLIAM F. XXX-XX-XXXX | {F

    

 

 

 

 

 

 

 

 

RANK, PMOSC/BRANCH, ORGANIZATION, DUTY ASSIGNMENT DATE
MAJ, SF, CO A, 3RD BN, 7TH SFG(A)_ COMPANY COMMANDER LZ Jel OS
2 DSI CONCUR WITH RATER AND SENIOR RATER EVALUATIONS [| NONCONCUR WITH RATER AND/OR SENIOR RATER EVAL (See attached comments)
N\ PART Ill - DUTY DESCRIPTION (Rater)
a. PRINCIPAL DUTY TITLE b. DUTY MOSC
COMPANY SENIOR COMMUNICATIONS SERGEANT 18E40

 

 

c. DAILY DUTIES AND SCOPE /To include, as appropriate, people, equipment, facilities and dollars)

Serves as the senior communications NCO of a ten man Operational Detachment Bravo; advises the Commander
on all communications matters in an 82 man company; supervises, plans and instructs personnel and
organizations up to battalion size; performs communications duties during Foreign Internal Defense (Light
Infantry/Counter Narcotics), Direct Action, and Special Reconnaissance missions; responsible for equipment
valued at $400,000; capable of performing all duties in English and Spanish

d. AREAS OF SPECIAL EMPHASIS Prepare and execute communications support for 6 ODA OCONUS deployments;

prepare and coordinate communications requirements for JRTC '02 deployment. Rater: joseph.w.back@; S/R:
edward.hunter@; Rev: william.white6@

e. APPOINTED DUTIES Company EMS NCO; Company Safety NCO: Range Safety NCO; Static Line Jumpmaster;
Drop Zone Safety Officer

 

 

 

f. COUNSELING DATES INITIAL LATER LATER
703 021102 030201

PART IV - ARMY VALUES/ATTRIBUTES/SKILLS/ACTIONS (Rater)
a. ARMY VALUES. Check elther "VES" or "NO". c are y for "No" entrh Yonel for “Yes” entries.)

LATER

 

 

 

 

 

 

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m
Y
z

 

 

LOYALTY. Bears true faith and allegiance to the U. S. Constitutuon, the Army, the unit, and other soldiers

 

Loyalty . DUTY. Fulfills their obligations
V Duty
Respect
A Selfless-Service

 

RESPECT/EO/EEO: Treats people as they should be treated

 

 

. HONOR: Lives up to all the Army values

 

INTEGRITY. Does what is right - legally and morally.

 

1
2
3
4. SELFLESS-SERVICE: Puts the welfare of the nation, the Army, and subordinates before their own.
5
6
7

|X DKIX KIX 1X

PERSONAL COURAGE Facas fear, danger, or adversity (physical and moral).

U Bullet comments

o demonstrates consistent and high standards of performance in all aspects of his

 

 

 

Honor E professional and personal life
Personditcoweys Ss }° displays honesty, loyalty and a hard working persistence

 

 

oO totally committed to mission and soldiers
DA FORM 2166-8, OCT 2001 REPLACES DA FORM 2166-7,SEP 87, WHICH IS OBSOLETE USAPA V1

 

 

DISC-09614
Case 8:21-cr-00348-SCB-SPF Document 345-4 Filed 03/27/23 Page 14 of 34 PageID 5123

 

RATED NCO'S NAME (Last, First, Middle Initial) SSN THRU DATE
+ BROWN, JEREMY M. jeremy.brown@ XXX-XX-XXXX 2003 06 +

 

 

 

PART IV (Rater) - VALUES/NCO RESPONSIBILITIES

Specific Bullet examples of “EXCELLENCE” or “NEEOS IMPROVEMENT” are mandatory.
Specific Bullet examples of "SUCCESS" are optional.

 

b. COMPETENCE

o Duty proficiency; MOS competency

o Technical & tactical; knowledge, skills, and

abilities
Sound judgment
Seeking self-improvement; always learning
Accomplishing tasks to the fullest capacity;

i lence

lexcerence"'*s SOCESS. NEEDS IMPROVEMENT
(Exceeds std) {Meets std) Some) {Much}

[x]

ooo

 

o superbly trained ODB detachment members on the PSC-5 radio
assisting in their winning the grueling battalion endurance event

o achieved a 3.5 gpa earning 21 college credit hours

o a true communications professional, always makes communication

 

c. PHYSICAL FITNESS & MILITARY BEARING
o Mental and physical toughness
o Endurance and stamina to go the distance
o Displaying confidence and enthusiasm;
looks like a soldier

aprt PASS 0212 | HEIGHT/WEIGHT — 71/183 YES

 

o key member of winning team for the challenging battalion endurance
event beating 18 other SF ODA's

0 personally commended by CDR USASOC for bearing and tactical

Ess EDS IMPROVEMENT
fexcasds std) (Mestsste) (Some) “(Maeni {Knowledge as the MFF MOD DEMO team member
[Xx] [| [1 []

 

d. LEADERSHIP
o Mission first
o Genuine concern for soldiers
0 Instilling the spirit to achieve and win
o Setting the example; Be, Know, Do

o flawlessly supervised, coordinated and managed the company's
communications plan for all teams deployed to Colombia for CD-005

© motivated team members to a first place finish for the battalion
endurance event; commended by Battalion Commander

fonceede ad) | (Mocteny ee eSone) mecnrN” jo consistently places mission first, an example for others
[| [X] ti 4
@. TRAINING

 

0 Individual and team

o Mission focused; performance oriented

o Teaching soldiers how; common tasks,
duty-related skills

o Sharing knowledge and experience to fight,
survive and win

EXCELLENCE SUCCESS
(Exceeds std) (Meets std) (Some) (Much)

[| [x] [| | |

NEEDS IMPROVEMENT

o thoroughly trained ODB members on new multi band SAT radio
o dominated the SFAUC shooting competition with a score of 98%

o his marksmanship training ability was instrumental in securing Ist
place for the battalion endurance/shooting event

 

f. RESPONSIBILITY & ACCOUNTABILITY
o Care and maintenance of equipment/facilities
© Soldier and equipment safety
o Conservation of supplies and funds
o Encouraging soldiers to learn and grow
o Responsible for good, bad, right & wrong

EXCELLENCE
(Exceeds std) (Meets std}

[x] [ |

SUCCESS NEEDS IMPROVEMENT

{Some} (Much)

Cf)

o expertly maintained $400,000 dollars worth of communications
equipment with 100% accountability

o always takes responsibility for his actions; never takes the easy
wrong over the hard right

o continuously stressed safety as an integral part of unit mission
success

 

PART V - OVERALL PERFORMANCE AND POTENTIAL

 

a. RATER. Overall potential for promotion and/or
service in positions of greater responsibility.

e. SENIOR RATER BULLET COMMENTS
0 promote to MSG ahead of peers

AMONG FULLY er wi 4 ati
Hae PRPAELE MARGINAL o extremely competent soldier; will excel in any position of greater
responsibility
[x] [| [

 

b. RATER. List 3 positions in which the rated
NCO could best serve the Army at his/her
current or next higher grade.

 

 

 

o his dedication to personal and professional development set the
example for all to emulate

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Senior SWCS Instructor _ fo the most technically proficient communications NCO in the company

NCOIC SIGDET

SFODA Operations Sergeant
c. SENIOR RATER. Overall performance x d. SENIOR RATER. Overall potential x

for promotion and/or service in
1 2 °3 4 5 positions of greater responsibility. 1 2 3 4
+ Successful Faw Poor Superior Far P
DA FORM 2166-8, OCT 2001 USAPA V1

DISC-09615
Case 8:21-cr-00348-SCB-SPF Document 345-4 Filed 03/27/23 Page 15 of 34 PageID 5124

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

+ NCO EVALUATION REPORT SEE PRIVACY ACT STATEMENT +
For use of this form, see AR 623-205; the proponent agency is ODCSPEA IN AR 623-205, APPENDIX C.
PART | - ADMINISTRATIVE DATA
a. NAME (Last, First, Middle Initial) b. SSN c. RANK d. DATE OF RANK | e. PMOSC
BROWN, JEREMY M. XXX-XX-XXXX SFC 030101 18E4VW8QB
f. UNIT, ORG., STATION, ZIP CODE OR APO, MAJOR COMMAND g. REASON FOR SUBMISSION
CO A, 3RD BN, 7TH SFG(A), FORT BRAGG, NC 28310 (USASOC) 3 | CHANGE OF RATER
h. PERIOD COVERED i RATED [fj NON” [K.NO. OF |1, RATED NCO COPY (Check one and Date) |™. PSC [nr cMD Po, PSB
FROM THRU MONTHS ropes ENCL 1. GwentoNCO Date initials CODE CODE
YYYY MMI YYYY MM —
2003 07 2004 «05 8 S 2. Forwarded to NCO 1) Jv wy oy SP FS27
PART It - AUTHENTICATION . .
a. NAME OF RATER (Last, First, Middle initial) SSN SIG RE 7
THIBEAU, MARK XXX-XX-XXXX
RANK, PMOSC/BRANCH, ORGANIZATION, DUTY ASSIGNMENT ' TE, ;
MSG, 18Z5M, CO A, 3RD BN, 7TH SFG(A) DETACHMENT OPERATIONS SERGEANT 5 oud J
b. NAME OF SENIOR RATER (Last, First, Middle Initial) SSN SIGNATURE /
LOCHNER, ERIC E. XXX-XX-XXXX Lo J fn

 

 

RANK, PMOSC/BRANCH, ORGANIZATION, DUTY ASSIGNMENT

 

 

 

 

 

 

 

TE
CPT, SF, CO A, 3RD BN, 7TH SFG(A) DETACHMENT COMMANDER iy Ton
2 : | understand my signature does not constitute agreement or disa reement witl
d. NAME OF REVIEWER (Last, First, Middle Initial) SSN uaF oO e a
SHUMATE, ALAN J. XXX-XX-XXXX , Ct.
RANK, PMOSC/BRANCH, ORGANIZATION, DUTY ASSIGNMENT “ an a DATE
MAS, SF, CO A, 3RD BN, 7TH SFG(A) COMPANY COMMANDER (7500

 

e. ix] CONCUR WITH RATER AND SENIOR RATER EVALUATIONS | NONCONCUR WITH RATER AND/OR SENIOR RATER EVAL (See attached comments}

 

PART Ill - DUTY DESCRIPTION (Rater)

a. PRINCIPAL DUTY TITLE b. DUTY MOSC

SPECIAL FORCES SENIOR COMMUNICATIONS SERGEANT 18E40

c. DAILY DUTIES AND SCOPE (To include, as appropriate, people, equipment, facilities and dollars)

Serves as senior communications sergeant on a Special Forces Operational Detachment "Alpha"; supervises,
plans, leads and instructs FM, AM, VHF and UHF/SHF radio communications to US and Allied forces in
Spanish; performs duties on Unconventional Warfare, Direct Action, Special Reconnaissance, Humanitarian and
Counternarcotics Missions; senior advisor to the commander on all communication issues; accountable for 300K
of detachment communications equipment; maintains his specialty in Close Quarter Combat Operations.

d. AREAS OF SPECIAL EMPHASIS Battalion EXEVAL; Detachment Advanced Marksmanship and Close Quarter
Combat Training; Company Level Advanced Urban Combat Training

Rater: mark.thibeau@ S/R: eric.lochner@ Rev: alan.shumate@

e. APPOINTED DUTIES Detachment Sniper Instructor; Ammunition Handler; Hazardous Material NCO; Range

NCOIC and Safety; Static Line Jurmpmaster, DZSO; Fast Rope Master; Detachment Close Quarter Combat
Instructor; Detachment Advanced Marksmanship Instructor

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

f. COUNSELING DATES INITIAL LATER LATER LATER
030708 031001 040112 040512
PART IV - ARMY VALUES/ATTRIBUTES/SKILLS/ACTIONS (Rater)
a. ARMY VALUES. Check either “YES” or "NO". c. ere fatory for “No* entrh jonel for “Yea” entries.) Yes | NO
1. LOYALTY: Sears true faith and allegiance to the U. S. Constitution, the Army, the unit, and other soldiers. x
Loyalty 2 DUTY: Fultills their obligations. x
V Duty 3. RESPECT/EO/EEO: Treats peopte as thay should be treated. x
Respect 4. SELFLESS-SERVICE: Puts the welfare of the nation, the Army, and subordinates before their own. x
A Selfless-Service -
5. HONOR: Lives up to all the Army vaiues. x
L 6. INTEGRITY: Does what is right - lsgally and morally. x
7. PERSONAL COURAGE: Faces fear, danger, or adversity (physical and moral). x
U Bullet comments
o extremely hard worker, dedicated to the mission and to the team
H ' - , ;
Integrity E o displays the highest degree of professionalism and demands the same of others
Personal Courage we a emacs
Ss o always seeks out and assumes additional responsibilities
DA FORM 2166-8, OCT 2001 REPLACES DA FORM 2166-7,SEP 87, WHICH IS OBSOLETE USAPA V1.01

 

DISC-09617
Case 8:21-cr-00348-SCB-SPF Document 345-4 Filed 03/27/23 Page 16 of 34 PageID 5125

 

RATED NCO'S NAME /Last, First, Middle Initial)
+ BROWN, JEREMY M.

jeremy. brown@

SSN
XXX-XX-XXXX

THRU DATE
200405

 

 

+

 

PART IV (Rater) - VALUES/NCO RESPONSIBILITIES

Specific Bullet examples of “EXCELLENCE“ or “NEEDS IMPROVEMENT? are mendatoary.
Specific Bullet les of “SUCCESS” are optional.

 

b. COMPETENCE

Duty proficiency; MOS competency

Technical & tactical; knowledge, skills, and

abilities

Sound judgment

Seeking self-improvement; always leaming

Accomplishing tasks to the fullest capacity;
committed to excellence

EXCELLENCE

(Exceeds std)

[x]

oo

°
oO
°

 

UCCESS NEEDS IMPROVEMENT
ieee Std} Some} (Much)

o received an AAM for his superior performance during a Special
Forces Modular Demonstration for over 3000 civilian personnel

o completed 9 college credit hours with a 3.0 GPA while
simultaneously performing all military duties in an impeccable manner

o prepared and briefed the communications annex and two seperate link
up annexes for the battalion exeval briefback

 

c. PHYSICAL FITNESS & MILITARY BEARING
o Mental and physical toughness
o Endurance and stamina to go the distance
o Displaying confidence and enthusiasm;
looks like a soldier

EXCELLENCE SUCCESS NEEDS IMPROVEMENT

(Exceeds std) (Meets std) (Some) {Much}
[Xx] [1] fr) { ] O possesses the strength and mental toughness to go the extra mile

d. LEADERSHIP

APFT PASS 0402 [ HEIGHT/WEIGHT —_—71/183 YES

 

o earned the Army Physical Fitness Badge; scored 290 on the APFT

o ran both the 7th Special Forces Group Organizational Day 10K and
the Jingle Bell Jog 10K in under 43:00

 

o Mission first

o Genuine concern for soldiers

© instilling the spirit to achieve and win
o Setting the example; Be, Know, Do

fexcesds'std) (Mestssia) ““'Somn) “iter” jo sought by other detachment members for advice and guidance due to
1X] r rl his institutional and professional knowledge
@. TRAINING

o received an AAM for planning, organizing and executing company
level Advanced Marksmanship Training in preparation for SFAUC

o led the safe execution of multiple high risk live fire exercises, FRIES
and airborne operations during Green Cycle Training

 

o {ndividual and team

o Mission focused; performance oriented

o Teaching soldiers how; common tasks,
duty-related skills

o Sharing knowledge and experience to fight,

survive and win Course and the JPRA Personnel Recovery 101 Course
EXCELLENCE SUCCESS NEEDS IMPROVEMENT . . . wo. .
(Exceeds std) (Meets std) (Some) (Much) |0 excels in training, leading and motivating soldiers
[ | [X] [|

0 conducted 40 hours of communications training which greatl
enhanced the detachment's ability to perform its war time mission

0 successfully completed both the Military Mobile Force Protection

 

f. RESPONSIBILITY & ACCOUNTABILITY

Care and maintenance of equipment/facilities
Soldier and equipment safety

Conservation of supplies and funds
Encouraging soldiers to learn and grow
Responsible for good, bad, right & wrong

oo0o0g00

CELLENCE SUCCESS NEEDS IMPROVEMENT . . oe
fexcoeds std) {Meets std) (Some) (Much) 0 Continuously stressed safety as an integral part of unit mission success
[ [x] [| [|

O maintained 100% accountabili

ined a of all assigned detachment
communications equipment wo

over $300,000

o performed Jumpmaster duties on numerous airborne operations with
zero incidents or injuries

 

PART V - OVERALL PERFORMANCE AND POTENTIAL

 

a. RATER. Overall potential for promotion and/or
service in positions of greater responsibility.

AMONG FULLY
THE BEST CAPABLE MARGINAL
[X] [| L |

 

b. RATER. List 3 positions in which the rated
NCO could best serve the Army at his/her
current or next higher grade.

SFODA Asst Opns/Intel Sergeant
USAJFKSWCS Instructor/Writer

 

 

e. SENIOR RATER BULLET COMMENTS
oO promote to MSG ahead of peers

O unlimited potential to serve in positions of greater responsibility at
Company and Battalion level

o send to the First Sergeants Course upon promotion to MSG

o displays character traits that will make him a true asset to any
organization in Special Operations

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

SFODA Operations Sergeant
c. SENIOR RATER. Overall performance x d. SENIOR RATER. Overall potential x
for promotion and/or service in
1 2 3 4 8 positions of greater responsibility. 1 2 3 4 5
+ Successtul Fair Poor Superior Faw Poor
DA FORM 2166-8, OCT 2001 USAPA V1.04

DISC-09618
Case 8:21-cr-00348-SCB-SPF Document 345-4 Filed 03/27/23 Page 17 of 34 PagelID 5126

 

 

 

 

 

 

 

 

 

 

 

 

 

+ NCO EVALUATION REPORT SEE PRIVACY ACT STATEMENT 4
For use of this form, see AR 623-205; the proponent agency is ODCSPER IN AR 623-205, APPENDIX C.
PART | - ADMINISTRATIVE DATA
a. NAME (Last, First, Middle Initial) b. SSN c. RANK d. DATE OF RANK | e. PMOSC
BROWN, JEREMY, M XXX-XX-XXXX SFC 030101 18E4VW8QB
f. UNIT, ORG., STATION, ZIP CODE OR APO, MAJOR COMMAND 9. REASON FOR SUBMISSION
CO A, 3RD BN, 7TH SFG(A), FORT BRAGG, NC 28310 (USASOC) 03 | Change of Rater
h. PERIOD COVERED a Fare 1 NON" Tk NO. OF TRATED NCO COPY (Check one and Date) [m. PSC To. CMD Jo. PSB
Eenoe = ee a a a Date Initials CODE CODE
2004 06 | 2005 04 ll NK] 2. Forwardedtanco [AS JWyoC DH sP FS27

 

 

 

 

 

 

 

 

 

 

 

PART It - AUTHENTICATION

a. NAME OF RATER (Last, First, Middle Initial) SSN SIG RE
KENNEDY, JOHNNY L. XXX-XX-XXXX San? a Kore
uw

 

 

 

 

 

 

 

 

 

 

RANK, PMOSC/BRANCH, ORGANIZATION, DUTY ASSIGNMENT DATE
MSG, 18Z5H, CO A, 3RD BN, 7TH SFG(A) DETACHMENT OPERATIONS SERGEANT aS MAVAT
b. NAME OF SENIOR RATER (Last, First, Middle Initial) SSN SIGN,
NORDWALL, MARK A. XXX-XX-XXXX SOY 2
RANK, PMOSC/BRANCH, ORGANIZATION, DUTY ASSIGNMENT DATE
CPT, SF, CO A, 3RD BN, 7TH SFG(A) DETACHMENT COMMANDER as AM VOL
evaluations of the tater aid senior tater | further understand my saieatura verifies Mat the administrative s TURE DATE
the APT and heightinaght entiss im Part We are correct have seen the report complated trough Part V. S Myol
d. NAME OF REVIEWER (Last, First, Middle Initial} SSN GIGNATUREY, Co”
CODY, ROBERT L. XXX-XX-XXXX At
RANK, PMOSC/BRANCH, ORGANIZATION, DUTY ASSIGNMENT oN DATE
MAJ, SF, CO A, 3RD BN, 7TH SFG(A) COMPANY COMMANDER aS fMyo°

 

 

e. Ss CONCUR WITH RATER AND SENIOR RATER EVALUATIONS | NONCONCUR WITH RATER AND/OR SENIOR RATER EVAL (See attached comments}

 

PART Ill - DUTY DESCRIPTION (Rater)

a. PRINCIPAL DUTY TITLE b. DUTY MOSC

SPECIAL FORCES SENIOR COMMUNICATIONS SERGEANT 18E40

c. DAILY DUTIES AND SCOPE (To include, as appropriate, people, equipment, facilities and dollars)

Serves as senior communications sergeant on a Special Forces Operational Detachment "Alpha"; supervises,
plans, leads and instructs FM, AM, VHF and UHF/SHF radio communications to US and Allied forces in
Spanish; performs duties on Unconventional Warfare, Direct Action, Special Reconnaissance, Humanitarian and
Counter-narcotics Missions; senior advisor to the commander on all communication issues; accountable for
$300,000 of detachment communications equipment; maintains his specialty in Close Quarter Combat Operations.
d. AREAS OF SPECIAL EMPHASIS Bolivia CNT 004 mission; Company SFAUC; Detachment Advanced Marksmanship
and Close Quarters Combat Training Blackwater; Deployment in support of OEF

Rater: johnny.kennedyi@ S/R: mark.a.nordwall@ __ Rev: robert.cody@

e. APPOINTED DUTIES Detachment Sniper Instructor; Detachment COMSEC custodian; Static Line Jumpmaster;

Fast Rope Master; Range NCOIC and Safety; Ammunition Handler; Detachment Close Quarters Combat
nstructor

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

f. COUNSELING DATES INITIAL LATER LATER LATER
041015 050114 050323
PART IV - ARMY VALUES/ATTRIBUTES/SKILLS/ACTIONS (Rater)
a. ARMY VALUES. Check either "YES" or "NO". c are mandatory for “No” ptional for “Yes” entries.) ves | NO
1. LOYALTY: Bears true faith and allegiance to the U. S. Constitution, the Army, the unit, and other soldiers x
Loyalty 2. DUTY: Fulfills their obligations. x
V Duty 3 RESPECT/EO/EEO: Treats people as they should be treated. x
Respect 4. SELFLESS-SERVICE: Puts the welfare of the nation, the Army, and subordinates before their own. x
A Selfless-Service -
5. HONOR: Lives up to all the Army vatues. x
L 6. INTEGRITY: Does what is right - legally and morally x
7. PERSONAL COURAGE: Faces foar, denger, of advessity (physical end moral). x
U Bullet comments
o dedicated to mission and team
Honor E eed :
Integrity oO accepts responsibility for own actions
Personal Courage .
Ss o loyal, truthful and fair
DA FORM 21 66-8, OCT 2001 REPLACES DA FORM 2166-7,SEP 87, WHICH IS OBSOLETE USAPA V1.01

DISC-09620
Case 8:21-cr-00348-SCB-SPF Document 345-4 Filed 03/27/23 Page 18 of 34 PagelID 5127

 

a
RATED NCO'S NAME (Last, First, Middle Initial}
+ BROWN, JEREMY, M

jeremy.michael.brown@

SSN
XXX-XX-XXXX

THRU DATE

200504 +

 

 

 

PART IV (Rater) - VALUES/NCO RESPONSIBILITIES

Specific Bullet examples of “EXCELLENCE” or “NEEDS IMPROVEMENT” are mandatory
Specific Bullet examples of “SUCCESS™ are optronal.

 

b. COMPETENCE
o Duty proficiency; MOS competency
o Technical & tactical; knowledge, skills, and
abilities
Sound judgment
Seeking self-improvement; always learning
Accomplishing tasks to the fullest capacity;
committed to excellence

ooo

DS IMPROVEMENT : . .
Seer) (Meets std) NEE Ooo) ihiuen]  |O completed 14 credit hours of college during deployment with a 3.8
x] grade point average

o recommended for Bronze Star and CIB by the O-5 in charge of his
element while serving during OEF

o established emergency tactical communication plan for US Embassy
Bolivia during Civil Uprising

 

c. PHYSICAL FITNESS & MILITARY BEARING
o Mental and physical toughness
o Endurance and stamina to go the distance
o Displaying confidence and enthusiasm;
looks like a soldier

EXCELLENCE SUCCESS NEEDS IMPROVEMENT
(Exceeds std) (Meets std) {Some} (Much} :
] [] O appearance and bearing above reproach

apFr_ PASS 0501 | HEIGHT/WEIGHT 72/188 YES
o scored 290 on APFT, earned Army Physical Fitness Badge

 

o competed in Bolivian International Practical Shooter Confederation
Competition achieving forth place out of 13

 

d. LEADERSHIP
o Mission first
o Genuine concern for soldiers
0 Instilling the spirit to achieve and win
o Setting the example; Be, Know, Do

o led an element from the French SOF as the Coalition LNO resulting
in the capture of numerous Taliban members and weapons systems

o served as assistant operations sergeant for CNT-004, his leadership
and can do attitude contributed greatly to overall mission success

 

duty-related skills
Sharing knowledge and experience to fight,
survive and win

°o

EXCELLENCE
(Exceeds std) (Meets std} (Some)

[ | [x] [|

SUCCESS
(Much}

(exceeds std) (Moots sta) NE Some) tiMacny o lead USSF personnel on numerous multinational combat patrols
x] C1 rl. during Operation Enduring Freedom

BANG and tim o trained 40 Bolivian Counter Terrorist and Counter-narcotics police in
o Mission focused; performance oriented mission planning and small unit tactics during a four week PO
o Teaching soldiers how; common tasks,

NEEDS IMPROVEMENT

o planned and coordinated a 72 hour FTX for 21 Bolivian Special
Counter-Narcotics Police with realistic counter-narcotics scenarios

o primary instructor for two week training of six Bolivian
counter-terrorist snipers in advanced sniper techniques

 

f. RESPONSIBILITY & ACCOUNTABILITY

Care and maintenance of equipment/facilities
Soldier and equipment safety

Conservation of supplies and funds
Encouraging soldiers to learn and grow
Responsible for good, bad, right & wrong

ooooo

$10,000 for six month deployment to Bolivia with no loss
ELLENCE SUCCESS NEEDS IMPROVEMENT sos i
focbeds std) (Meets std) (Some) (Much) |O Maintained accountability of $300,000 worth of detachment
[1] x] [] | communication equipment with no loss

o maintained accountability of $1,000,000 of coalition equipment and
communication gear with no loss

o managed as ordering officer the detachment operational funds of

 

PART V

- OVERALL PERFORMANCE AND POTENTIAL

 

a. RATER. Overall potential for promotion and/or
service in positions of greater responsibility.

AMONG
THE BEST CAPABLE MARGINAL

[X] [ [|

FULLY

e. SENIOR RATER BULLET COMMENTS
0 promote to Master Sergeant ahead of peers

o assign as an Intelligence Sergeant

© continue to groom this NCO to be a Detachment Operations Sergeant

 

b. RATER. List 3 positions in which the rated
NCO could best serve the Army at his/her
current or next higher grade.

SFODA Asst Ops and Intel Sergeant
BN SIGDET NCOIC

Detachment Operations Sergeant

 

o displays character traits that will make him a true asset to any
organization in Special Operations

 

 

c. SENIOR RATER. Overall performance

 

 

 

 

 

 

 

 

 

 

 

 

 

x d. SENIOR RATER. Overall potential x
for promotion and/or service in
1 2 3 4 5 positions of greater responsibility. 1 2 3 4 5
+ Successful Faw Poor Superior Fau Poor
DA FORM 2166-8, OCT 2001 USAPA V1.01

DISC-09621
Case 8:21-cr-00348-SCB-SPF Document 345-4 Filed 03/27/23 Page 19 of 34 PageID 5128

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eee Let Re

 

a ee
+ NCO EVALUATION REPORT
For use of this form, see AR 623-205; the proponent

 

ncy is ODCSPER
PART | - ADMINISTRATIVE DATA

SEE PRIVACY ACT STATEMENT +
IN AR 623-205, APPENDIX C.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

     

      
 
 

    
 

    

 

 

 

 

 

 

a, NAME (Last, First, Middle Initial) . C. d. DATE OF RANK | 6. PMOSC
BROWN, JEREMY M. XXX-XX-XXXX SFC 030101" | 18E4V W800
'TUNIT, ORG., STATION, ZIP CODE OR APO, MAJORG 9. REA UBMISSI
| HSC, 3RD BN, 7TH SFG(A), FORT BRAGG, NC 28310 USASOC 2 | ANNUAL
h. PERIOD COVERED . RATED fj. k.NO.OF [1 RATED NCOCOPY (Check one and Date} |m. PSC 1. CMO Jo. PSB
FROM THRU MONTHS # RATEO ENCL Date initiats CODE coocEe
CODES 1. Given to NCO
YYYY MM | YvYyY MM
2005 05 | 2006 04 12 2, Fowarsedtonco |3t Moy Ob | RR sp | F927
PART [I - AUTHENTICATION ZL
‘a. NAME OF RATER (Last, First, Middle Inilal) SSN si
WOYTOWICH, ADAM XXX-XX-XXXX |
| RANI, PMOSCIBRANCH, ORGANIZATION, DUTY ASSIGNMENT DATE
CPT, SC, HSC, 3RD BN, 7TH SFG (A) SIGNAL DETACHMENT CD . 31 MmMYé)S
b. NAME OF SENIOR RATER (Last, First, Middie Inlal} SSN 7 :
BJORNSON, CHRISTIAN C. XXX-XX-XXXX > Baz —
RANK, PMOSC/ERANCH, ORGANIZATION, DUTY ASSIGNMENT TE
CPT, SC, HHD, 3RD BN, 7TH SFG(A) ___ BATTALION SIGNAL OFFICER 2 {moYVd6
Toe rpc ge ope ioe ey tga ep mats aa ee ae TURE DATE
fettmengt soaps ibe Nee Bre 2 Bl voyoe
d. NAME OF REVIEWER (Last, First, GNA
CODY, ROBERT L. 42A-96-7856
RANK, PMOSC/BRANCH, ORGANIZATION, DUTY ASSIGNMENT _] DATE
MAJ, SF, HHD, 3RD BN, 7TH SFG (A) BATTALION EXECUTIVE OFFICER _ [3st maya

 

a. PRINCIPAL DUTY TITLE
Signal Detachment Sergeant

b. DUTY MOSC
[8E4V

e. Ix] CONCUR WITH RATER AND SENIOR RATER EVALUATIONS [1 NONCONCUR WITH RATER AND/OR SENIOR RATER EVAL, (Soe attached comments}
PART Ili - DUTY DESCRIPTION (Rater)

 

d. AREAS OF SPECIALEMPHASIS US Army Special
Signal Detachment (REARDET SIGDET) NCOI

e. APPOINTED DUTIES Jumpmaster

¢. DAILY DUTIES AND SCOPE (To include, as appropriate, people, equipment, facilities and dollars)
Serves as a Platoon Sergeant for a Signal Detachment that provides communications support to a Special Forces
Battalion engaged in the Global War on Terror within the SOUTHCOM and CENTCOM AOR's; plans and

ises the installation, operation, and employment of the Tactical Local Area Network (TACLAN), Joint Base
Station (IBS), SOF Deployment Node (SDN), High Frequency, Satellite Communcation radios; and overall C4l
architecture; responsible for 15 soldiers; accounts for $6 million worth of communications pro .
ions Recruiting Battalion (SORB) Tasking; Rear Detachment

Rater: adam.woytowich@; S/R: christian.bjomson@; Reviewer: robert.cody@

 

f. COUNSELING DATES ITAL
050510

 

LATER
{° 050816

| ATE

R
051116

| TATER,

S
n
oS
8
Nw

 

PART IV - ARMY VALUES/ATTRIBUTES/SKILLS/ACTIONS (Rater)

 

a, ARMY VALUES. Check either "YES" or "NO". Comments ere mandetory for “No” entries; optional for "Yes" entries.)

 

4 LOYALTY: Baers true faith and allegence to the U. 8. Congutution, the Army, the unt, and other saichers.

 

Loyaity 2 OUTY: Fults ther cttigavons

 

Vv

Duty

3 RESPECTAEQ/EEO: Treats people es they should be treated.

 

 

4 SELFLESS-SERVICE Puts the welfare of the naban, the Any, end subordinates before their awn

 

Seffiess-Service

A

5. HONOR, Lives up to all the Army vatues

 

6 INTEGRITY. Does what ts right - legally and morally.

 

L

7_ PERSONAL COURAGE: Faces fear, dangor, or adversity (physcal end moral).

 

 

DX |X PXPXDK IX] at

 

‘Bulet comments

U
E

Honor the highest

Integrity
Personal Courage

Ss

 

 

a a eS
DA FORM 2166-8, OCT 2001

 

o integrity is unquestionable; his word is his bond

o displays the highest degree of personal courage and loyalty to the unit
REPLACES DA FORM 2168-7,SEP 87, WHICH IS OBSOLETE

© demonstrates absolute commitment to mission accomplishment and adherence to
standards

USAPA V1.0

DISC-09798
Case 8;

    

348-SCB-SPF...Document 345-4 Filed 03/27/23 Page 20 of 34 PagelD 5129

 

RATED NCO'S NAME (Last, First, Middle taltieh
+ BROWN, JEREMY M. jeremy.brown@

PART IV (Rater) - VALUES/NCO RESPONSIBILITIES
b.

© Duty proficiency; MOS com,

© Technical & tactical; knowledge, skilis, and
abilities

© Sound judgment

© Seeking self-improvement; always leamii
bic Accomplishing tasks to the fullest capacity,

CELLENGE. SUCCESS “NEEDS MPR OVEMENT
a OSS esas

Specs’ Be

oF
Cantos Of SUCEREO ors HERES IMPROVEMENT” ore maritory

0 selected for Special Operations Recruiti
unit to achieve 425 recruits for FY 05-06; 3

SSN THRU DATE
XXX-XX-XXXX 2006 04

 

tasking; helped positi

more le previor

© created a new Special Forces recruiting brief that has become th
standard of use for the SORB : ome tnt

© continually qualified expert on all assigned weapon systems

 

¢, PHYSICAL FITNESS & MILITARY BEARING
© Mental and physical toughness
© Endurance and stamina to go the distance
© Displaying confidence and enthusiasm:

AprT_ PASS 0601
0 with his proactive involvement; helped increase his detachment’:

| HEIGHT/WEIGHT 72/185 YE

 

 

© Indvidua! and team

© Mission focused; performance oriented

© Teaching soldiers how; common tasks,
lated skilts

duty-re!
Shi kn id js to
° ring | paewiedge an experience to fight,
CELLENCE SUCCESS NEEDS IMPROVEMENT
(Exceeds std) (Meets sid) (Some) (Much)
[X] [) [)

looks tke a sotdiar average APFT score by 30 points
BLLENCE sy NEEDS WePRovERET © consistent in his impeccable appearance and confidence
ox ste) © (Meets std) (Some) (Much)
x
d. LEADERSHIP o awarded the distinguished leadership award at the Armny’s Basic
° Genuine soncer for sides iu Recruiter Course
©. Sating the erate anlar and win o his natural leadership abilities led to his selection by the SORB
serve as the NCOIC of the head recruiting team for FY07
fsseusptee itoots ses) “(Some) amen) [0 Served as REARDET Signal Detachment NCOIC during the Batt
Cl deployment to Colombia
@. TRAINING

© served as an instructor for the Urban Warfare Course held at Fort
Bragg, NC; trained over 100 support personnel in urban tactics

© attended the Tier One Driver Course; trained subordinates on driv
tactics leamed for the unit's upcoming OEF rotation

 

f. RESPONSIBILITY & ACCOUNTABILITY .
© Care and maintenance of equipmentifacilities
© Soldier and equipment
© Conservation of supplies funds

 

© Encoura: soldiers to leam and grow
° Responakis for good, bad, right & wrong

CELLENCE SUCCESS NEEDS IMPROVEMENT
[(creescs se (Meets std) ~~ (Much)

(X]

0 prepared the SIGDET for deployment to Colombia; resulted in al
mission-essential equipment being staged on time

o assistant Jumpmaster for 5 Airborne OPS during this rating perio
attention to detail and genuine care for soldiers 1

to zero accident

 

PART V - OVERALL PERFORMANCE AND POTENTIAL

 

a RATER Overal potential for promotion and/or
Service in positions of greater responsibility,

AMONG FULLY
THE BEST CAPABLE MARGINAL
| [x]

 

b. RATER. List 3 positions in which the rated
NGO could best serve the Army at his/her
Curtent of next higher grade.

 

 

 

@. SENIOR RATER BULLET COMMENTS

© promote now; send to 1SG Course immediately

0 unlimited potential; one of the most technically competent
communications NCOs with whom I have served

© @ brilliant performance during this ratin riod by a knowledgea:
NCO; assler bane ona Tost challedging jobs

est and most challenging jobs

 

 

 

Group C&E NCOIC. 0 send to technically advanced schooling
USASEC F; c' er
USASOC Frequency Manager _
c. SENIOR RATER. Overall performance x d@. SENIOR RATER. Overall potentia! x
for promotion and/or service in | | a
123 4 positions of greater responsibility. 4+ 203 4
+ ‘Sucossstul Fer

 

DA FORM 2166-8, OCT 2001

 

DISC-09799
Case 8:21-cr-00348-SCB-SPF Document 345-4 Filed 03/27/23 Page 21 of 34 PagelD 5130

 

NCO EVALUATION REPORT

 

FOR OFFICIAL USE ONLY (FOUO)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

+ . . SEE PRIVACY ACT STATEMENT +
For use of this form, see AR 623-3; the proponent agency is OCS, G-1. IN AR 623-3.
PART | - ADMINISTRATIVE DATA
a. NAME (Last, First, Middle initial) b. SSN c. RANK d. DATE OF RANK | e. PMOSC
BROWN, JEREMY M. XXX-XX-XXXX SFC ( )| 20030301 | 18E4V
f.1. UNIT ORG. STATION ZIP CODE OR APO f.2. STATUS CODE =[g. REASON FOR SUBMISSION
B Co, Special Opns Retg Bn, w/duty Campbell, KY 42223 (USAREC) 3 | Change of rater
h. PERIOD COVERED 1. RATED | j. NON- k.NO.OF | |, RATED NCO'S EMAIL ADDRESS m. UIC n CMD 0. PSB
FROM THRU MONTHS | RATED ENCL (gov or .mil) CODE CODE
CODES : :
YEAR MONTH DAY | YEAR MONTH DAY jeremy.brown@us.army.mil
20060501 20070430 12 WO6TAA TA RCGA
PART II - AUTHENTICATION
a, NAME OF RATER (Last, First, Middle Initial) SSN SIGNATURE DATE (YYYYMMDD)
SPEAR, JOSEPH D. XXX-XX-XXXX SPEAR. JOSEPH_DALE.11037865@ 20070430
RANK PMOSC/BRANCH ORGANIZATION DUTY ASSIGNMENT RATER'S AKO EMAIL. ADDRESS (.gov. or .mil)
ISG 18Z5V Co B, Special Opns Retg Bn First Sergeant |joseph.spear@us.army.mil
b. NAME OF SENIOR RATER (Last, First, Middle Initial) SSN SIGNATURE SC DATE (YYYYMMDD)
PYRCHALLA, SCOTT M. XXX-XX-XXXX PYRCHALLA SOOTY: MICHAEL 108043792) 20070504
RANK PMOSC/BRANCH ORGANIZATION DUTY ASSIGNMENT SENIOR RATER S AKO EMAIL ADORESS (.gov. or .mil)
CPT SF Co B, Special Opns Retg Bn Co Commander scott.pyrchalla@us.army.mil
c. NAME OF REVIEWER (Last, First, Middle Initial) SSN SIGNATURE DATE (YYYYMMDD)
RODDENBERRY, DAVID A. JR XXX-XX-XXXX RODDENBERRY.DAVID,A.JE. 1034875) 20070507
RANK PMOSC/BRANCH ORGANIZATION DUTY ASSIGNMENT REVIEWER'S AKO EMAIL ADDRESS (gov. or .mil)
LTC SF Special Operations Recruiting Bn Bn Commander david_roddenberry@us.army.mil

 

 

d. Xx CONCUR WITH RATER AND SENIOR RATER EVALUATIONS

[ NONCONCUR WITH RATER AND/OR SENIOR RATER EVAL (See attached comments)

 

the rater and senior rater. | further understand verifies that the
officials in Part 1i, the duty desenption | to include si paeeha
entnes in Part IV¢ are correct. [have seen the leted report.

RATED NCO: | understand my signature does not constitute agreement or disagreement with the evaiuations of
administrative data in Part |, the rabn
dates in Part Ill, and the APFT and heiahtiwe

am aware of the appeals process of

SIGNATURE

 

 

BROWN.JEREMY MICHAEL. 10576839@)

 

DATE (YYYYMMDD}
20070510

 

PART Ill - DUTY DESCRIPTION (Rater)

 

a. PRINCIPAL DUTY TITLE

Army Special Operations Forces Recruiter

b. DUTY MOSC
79R4P

 

 

c. DAILY OUTIES AND SCOPE (To include, as appropriate, people, equipment, facilities and dollars)
Plans and executes a global Army Special Operations Forces (ARSOF) recruiting campaign for qualified in-service Special Forces
officer and enlisted volunteers; executes installation level advertising and marketing programs tailored to a target market; utilizes
state of the art multimedia and information systems to conduct individual and large group presentations on career opportunities
within ARSOF; leads, trains and counsels future candidates through the processing cycle to ensure candidates are mentally and
physically prepared for the rigors of training.

 

d. AREAS OF SPECIAL EMPHASIS

Special Forces Assessment and Selection preparatory physical training program

 

e. APPOINTED OUTIES

Future SOF soldier program coordinator

 

f. COUNSELING DATES

INITIAL
20060615

 

LATER

 

LATER
20061214

 

20060912

LATER

 

PART IV - ARMY VALUES/ATTRIBUTES/SKILLS/ACTIONS (Rater)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

a. ARMY VALUES. Check either "YES" or °NO°. (Comments are mandatory for "No" entries; optional for "Yes" entries.) Yes } NO
1. LOYALTY: Bears true faith and allegiance to the U. S. Constitution, the Army, the unit, and other soldiers.
Vv tevalty 2. DUTY: Fulfills their obligations.
lu
Redonct 3. RESPECT/EO/EEO: Treats people as they should be treated.
A Selfless-Service 4. SELFLESS-SERVICE: Puts the welfare of the nation, the Army, and subordinates before their own.
5 HONOR: Lives up to all the Army values.
L 6 INTEGRITY: Does what is right - legally and morally.
7. PERSONAL COURAGE: Faces fear, danger, or adversity (physical and moral).
U [Bullet comments
o extremely loyal NCO who places team above self
Honor E . : : :
Integrity o displays strong mental and moral courage and displays true professionalism
Personal Courage S
o displays the highest degree of honesty, respect and integrity
DA FORM 2166-8, MAR 2006 PREVIOUS EDITIONS ARE OBSOLETE. Page 10f 2
APO PE v3 OES

DISC-09673
Case 8:21-cr-00348-SCB-SPF Document 345-4 Filed 03/27/23 Page 22 of 34 PagelD 5131

 

RATED NCO'S NAME (Last, First, Middle Initial)
+ BROWN, JEREMY M.

THRU DATE
20070430

SSN

 

 

+

 

PART IV (Rater) - VALUES/NCO RESPONSIBILITIES

XXX-XX-XXXX
Bullet comments are mandatory.
Substantive bullet comments are required for “EXCELLENCE” or "NEEDS IMPROVEMENT.”

 

b. COMPETENCE
o Outy proficiency; MOS competency
o Technical & tactical; knowledge, skills, and
abilities
o Sound judgment
© Seeking self-improvement; always learning
© Accomplishing tasks to the fullest capacity;
committed to excellence
EXCELLENCE SUCCESS NEEDS IMPROVEMENT
(Exceeds std) (Meets std) (Some) (Much)

 

o his personal commitment to excellence was paramount to mission success;
resulting in 109% enlisted and 113% officer production for FY 07

o demonstrated in great detail his knowledge and skill as a Special Forces subject
matter expert; greatly enhancing the educational process of prospective candidates

o independently accomplished the planning and conduct of three successful
outstation recruiting trips in support of another station within the company

 

¢. PHYSICAL FITNESS & MILITARY BEARING

© Mental and physical toughness

o Endurance and stamina to go the distance

© Displaying confidence and enthusiasm;
looks like a soldier

EXCELLENCE
(Exceeds std)

sa

SUCCESS
me)

=

(Much)

|

NEEDS IMPROVEMENT
(So (

APFT PASS 20070118 |HEIGHTWEIGHT 72 / 189 YES

 

o scored 282 on APFT

0 projects impeccable military bearing and appearance; represented the Army and
Special Operations during a nationally televised professional rodeo event

o well-disciplined Soldier who never falters in the face of adversity

 

(Meets std)
d. LEADERSHIP

o Mission first

0 Genuine concern for soldiers
© Instilling the spirit to achieve and win
© Setting the example; Be, Know, Do

EXCELLENCE
(Exceeds std)

SUCCESS
(Meets std)

(Some)
e. TRAINING

NEEDS ey oMEc

0 organized and supervised the stations future SOF soldier program helping to
improve the stations overall conversion and select rates

o clearly communicates the Special Forces mission to applicants enabling them to
make a sound career decision

o radiates confidence; sets an example for others to emulate

 

0 Individual and team

o Mission focused; performance oriented
° Teaching soldiers how; common tasks,
duty-related skills
o Sharing knowledge and experience to fight,
survive and win

EXCELLENCE SUCCESS
(Exceeds std) (Meets sta) (Some)

[| rT.

NEEDS Mac

o developed a tough and realistic SFAS training program resulting in a 67% select
rate for Soldiers who participated; almost doubling the battalion select rate of 38%

o thoroughly prepares his prospective candidates for the rigors of SFAS

o willingly shares his intimate experiences of Special Forces operations with his
peers; greatly enhancing their level of product knowledge and credibility

 

f. RESPONSIBILITY & ACCOUNTABILITY

Care and maintenance of equipment/facilities
Soldier and equipment safety

Conservation of suppties and funds
Encouraging soldiers to learn and grow
Responsible for good, bad, right & wrong

EXCELLENCE SUCCESS
(Exceeds std) (Meets std) (Some)

Ud x [|

ooogo

[|

NEEDS IMPROVEMENT
(Much)

o emphasizes safety and continuously monitors all Soldiers while conducting
rigorous physical training

0 tirelessly encourages young Soldiers to prepare themselves physically and
mentally for SFAS

o seeks responsibility and takes responsibility for his actions

 

PART V - OVERALL PERFORMANCE AND POTENTIAL

 

a. RATER. Overall potential for promotion and/or
service in positions of greater responsibility.

AMONG THE
BEST

5

FULLY

CAPABLE MARGINAL

@. SENIOR RATER BULLET COMMENTS
0 promote with peers

o assign as Company Operations Sergeant

o assign to duties with increased responsibility

 

b. RATER. List 3 positions in which the rated
NCO could best serve the Army at his/her
current or next higher grade.

Detachment Operations Sergeant

 

Company Operations Sergeant

 

Battalion Operations NCO

 

o send to DA First Sergeants course

 

 

c SENIOR RATER. Overall performance
1

 

Lb tt

2

Successful

d. SENIOR RATER. Overall potential
for promotion and/or service in
positions of greater responsibility.

LX UU CU

3

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+ Superior Fair Poor
DA FORM 2166-8, MAR 2006 Page 2 of 2
APD PE v3.00ES

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Case 8:21-cr-00348-SCB-SPF Document 345-4 Filed 03/27/23 Page 23 of 34 PageID 5132

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Osps2992 NCO EVALUATION REPORT EOP OGM BE OMEGENP
For use of this form, see AR 623-3 , the proponent agency ts DCS, G-1 IN AR 623-3
PART | - ADMINISTRATIVE DATA
a NAME (Last. First Middle Initial) b SSN c RANK d DATE OF RANK | e PMOSC
BROWN, JEREMY M XXX-XX-XXXX MSG ( )| 20071001 18Z5VW7
(1 UNIT ORG STATION ZIP CODE OR APO, MAJORCOMMAND |f2 STATUSCODE |g REASON FOR SUBMISSION
B Co, Ist Bn, Sth SFG (A) Ft Campbell, KY 42223 USASOC 02 | Annual
h PERIOD COVERED 1 RATED |) NON- k NO OF | 1 RATED NCO'S EMAIL ADDRESS m UIC n CMD o PSB
FROM THRU MONTHS | RATED ENCL (gov or mil) CODE CODE
CODES a
PEG NoWIM LAY] vEaH MuWin way jeremy brown‘@us army mil
20070501 20080430 12 WH04B0 SP WA22
PART li - AUTHENTICATION
a NAME OF RATER (Last. First. Middle Iritial) SSN SIGNATURE DATE (YYYYMMDD)
HALL, NED E XXX-XX-XXXX HALL NED. EDWARD. 11030672 |20080825
RANK PMOSC/BRANCH ORGANIZATION DUTY ASSIGNMENT RATER'S AKO EMAIL ADDRESS (gov or mii)
SGM 18Z5V B Co, Ist Bn, 5th SFG (A) Company SGM ned hall/@us army mil
b NAME OF SENIOR RATER (Last, First. Middle Initial) SSN SIGNATURE DATE (YYYYMMDD)
KUETHER, JUSTIN XXX-XX-XXXX KUBTHER JUSTIN PAUL 118824699 20080825
RANK PMOSC/BRANCH ORGANIZATION DUTY ASSIGNMENT SENIOR RATER S AKO EMAIL ADDRESS (gov or mil)
CPT SF B Co, Ist Bn, 5th SFG (A) Company XO justin kucther(@us army,mil
c NAME OF REVIEWER (Last. First Midole Initial) SSN SIGNATURE OATE (YYYYMMDD)
DUGGAN. PATRICK M XXX-XX-XXXX DAXKGANLPATRICK MICHABL. 106681266 20080825
RANK PMOSC/BRANCH ORGANIZATION DUTY ASSIGNMENT REVIEWER'S AKO EMAIL ADDRESS (gov or mi)
MAJ SF B Co, Ist Bn, 5th SFG (A) Companv CDR patrick duggan‘@us army mil
d Xx CONCUR WITH RATER AND SENIOR RATER EVALUATIONS | NONCONCUR WITH RATER AND/OR SENIOR RATER EVAL (See attached comments)
@ RATEDNCO | my does not ord with the of |SIGNATURE DATE (YYYYMMODD)

the rater and senor rater | further understand my signature venfies that the administrative data in Part |, the ratng
officials in Part il, the duty description to include the counseling dates in Part Ill, and the APFT and height/weight

entries in Part IVc are correct | have seen the completed report | am aware of the appeals process of AR 623-3 BROWN. JEREMY MICHABL.10576839@4 20080826

PART Ill - OUTY DESCRIPTION (Rater)
a PRINCIPAL DUTY TITLE b DUTY MOSC
Company Assistant Operations NCO 18Z50
c DAILY DUTIES AND SCOPE [To include, as appropnate, people, equipment. facilities and dollars)
Senior NCO of a 14 Man Special Forces Operational Detachment-Bravo (SFOD-B). responsible for planning, training, and employment
of the detachment, coordinates and executes support activities for six operational Detachment-Alphas (SFOD-A) while conducting Direct
Acuon, Special Reconnaissance, Foreign Internal Defense, Counter-Terrorism, and Advanced Special Operations within the CENTCOM
AOR, assumes the duties of the Company Sergeant Major 1n his absence, oversees the employment of the Company's weapons,
demolitions, tactical communications, intelligence and medical assets

 

 

 

 

 

 

 

d AREAS OF SPECIAL EMPHASIS
Operation IRAQI FREEDOM (OIF) V

 

e APPOINTED DUTIES
Company Jumpmaster, Air Movement Planner, Company Security NCO, Fire prevention NCO

 

 

 

 

 

 

 

 

 

 

 

 

f COUNSELING DATES INITIAL LATER LATER LATER
20070709 20071011 20080 106 200804 10

PART IV - ARMY VALUES/ATTRIBUTES/SKILLS/ACTIONS (Rater)

a ARMY VALUES Check either "YES" or "NO" (8ullet Comments are mandatory Substantive bullet comments are required for "NO~ entnes ) yes | No
1 LOYALTY Bears true farth and allegiance to the U S Constitutton, the Army, the unit, and other Soldiers |

Loyalty DUTY Fulfills their obligations
V Roopect RESPECT/EO/EEO Treats people as they should be treated
A Selfless-Service SELFLESS-SERVICE Puts the welfare of the nation, the Army, and subordinates before their own

 

HONOR Lwes up to all the Army values

 

L

INTEGRITY Does what is right - legally and morally

PERSONAL COURAGE Faces fear, danger, or adversity (physical and moral)
U Bullet comments

o demonstrated unwavering dedication to the unit's mission
Honor E

Integrity
Personal Courage S

 

NYO) a] eal wl] rm

 

 

 

 

 

 

o an honest and candid advisor to the company Icadership

 

 

 

 

DA FORM 2166-8. MAR 2006 PREVIQUS EDITIONS ARE OBSOLETE Page 1 of 2
’ APD PE v6 O0ES

 

DISC-09681
Case 8:21-cr-00348-SCB-SPF Document 345-4 Filed 03/27/23 Page 24 of 34 PagelID 5133

 

RATED NCO'S NAME (Last. First, Middie inital)
+ BROWN, JEREMY M

THRU DATE
20080430

SSN
+

 

 

 

PART IV (Rater) . VALUES/NCO RESPONSIBILITIES

XXX-XX-XXXX
Bullet comments $°@ MSI ai rty

Schstaative bullat cammearts are raquited far ‘EXCELENTE 4: SHEED S IMPROVEVYENT *

 

b COMPETENCE
o Duty proficiency, MOS competency
o Technical & tactical, knowledge, skills, and
abilities
Sound judgment
Seeking self-improvement, always learning

o

o

o Accomplishing tasks to the fullest capacity,
committed to excellence
EXCELLENCE SUCCESS NEEDS IMPROVEMENT
(Exceeds std) (Meets std) (Some) (Much)

o battle tracked up to ten ODAs, two ODBs at seven different geographic locations in
Southern Central Iraq

o selected to serve as the Company Operations Sergeant over six other more senior
Master Sergeants during OIF V

o Established a Helicopter Landing Zone SOP enhancing the safe conduct of over 50
nightime rotarv wing arrivals and departures

 

c PHYSICAL FITNESS & MILITARY BEARING

o Mental and physical toughness

o Endurance and stamina to go the distance

o Displaying canfidence and enthusiasm,
looks like a Soldier

EXCELLENCE
(Exceeds std)

SUCCESS

(Meets std)
d LEADERSHIP

NEEDS IMPROVEMENT
(Some) (Much)

[| |

| HEIGHTWEIGHT = 72/ 190

APFT PASS 20080430
o scored 290 on his last record APFT

YES

o conducts himself professionally. morally and cthically at all times

o displayed the stamina necesary to go the distance during a six month OCONUS
deployment successfully

 

o Mission first

o Genuine concern for Soldiers
0 Instilling the spirit to achieve and win
o Setting the example, Be, Know, Do

o supervised and mentored ten Special Forces NCOs in a combat environment with
success

o managed basecamp response to three indirect fire attacks successfully by creating a
base defense plan and rehearsing 1t repeatedly

EXCELLENCE SUCCESS NEEDS IMPROVEMENT

(Exceeds std) (Meets std) (Some) (Much) o served as part of the unit mimistry team by conducting Bible studies in his limited
x 1] [1 fume otf

@ TRAINING

 

0 Individual and team

o Mission focused, performance oriented

o Teaching Soldiers how, common tasks,
duty-related skills

o Sharing knowledge and experience to fight,
survive and win

EXCELLENCE SUCCESS
(Exceeds std) (Meets std)

NEEDS IMPROVEMENT
(Some) (Much)

_| |

o authored and implemented a Base Defense Plan that insured the successful return of
82 soldiers from a combat zone

o ensured evervone on the basecamp knew their responsibilities by continuously
rehearsing and refining the Base Defense Plan

o trained five Special Forces NCOs on proper HLZ operations always taking ume to
share his knowledge

 

f RESPONSIBILITY & ACCOUNTABILITY

Care and maintenance of equipment‘facilities
Soldier and equipment safety

Conservation of supplies and funds
Encouraging Soldiers to learn and grow
Responsible for good, bad, right & wrong

SUCCESS NEEDS IMPROVEMENT
(Meets std) (Some) (Much)

°
o
Qo
oO
°

EXCELLENCE
(Exceeds std)

o served as the CERP Fund paying agent responsible for $120,000 without loss
o served as the "moral compass" for those soldicrs 1n his charge

o encouraged soldiers to expand their knowledge through impromptu classes and
additional physical training

 

PART V - OVERALL PERFORMANCE AND POTENTIAL

 

a RATER Overall potential for promotion and/or
service in positions of greater responsibility

AMONG THE
BEST

FULLY
CAPABLE

[|

MARGINAL

5

e SENIOR RATER BULLET COMMENTS
o select immediately for First Sergeant

o promote to SGM and select for attendance at the Sergeants Mayor Academy

o outstanding potential, will make an excellent Company SGM

 

b RATER List 3 positions in which the rated
NCO could best serve the Army at his/her
current or next higher grade

Detachment Operahions Sergeant

 

Company Operations Sergeant

 

First Sergeant

 

o his professionalism and dedication to the unit and mission are in keeping with the
traditions of the Special Forces NCO Corps

 

 

 

 

 

c¢ SENIORRATER Overall performance x | d SENIOR RATER Overall potential x |
1 2 3 4 5 for promotion and/or service in
positions of greater responsibility 1 2 3 4 5
Successful Far Poor
+ Superior Fawr Poor
DA FORM 2166-8 MAR 2006 Page 2 of 2

APD PE v6 OOES

 

DISC-09682

 
 

 

o4620i1er 8:21-cr-00348-SCB-SPF Document 3 J one” 03/27/23 Page 25 of 34 PagelD 5134
NCO EVALUATION REPORT SEE PRIVACY AGT STATEMENT”
+ For use of this form, see AR 623-3; the proponent agency is DCS, G-1. IN AR 623-3. +

 

 

PART | - ADMINISTRATIVE DATA

a. NAME (Last, First, Middie Initia) b. SSN c. RANK d. DATE OF RANK | e. PMOSC |
BROWN, JEREMY M. XXX-XX-XXXX MSG ( y{ 20071001 18ZSVW8PF '
f.1. UNIT ORG. STATION ZIP CODE ORAPO, MAJORCOMMAND |f.2. STATUSCODE |g. REA R ISSIO

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

A CO, 4TH BN, 5TH SFG(A), FORT CAMPBELL, KY 42223 USASOC 02 | Annual
h PERIOD COVERED 1. RATED | j. NON- k.NO.OF || RATED NCO'S EMAIL ADDRESS m UIC n. CMO 0. PSB
FROM THRU MONTHS | RATEO ENCL (gov or mil) CODE CODE
CODES : :
YEAR MONTH DAY| YEAR MONTH DAY jeremy.michael .brown@
20080501 20090430 12 0 us.army.mil WJQ3A0 SP UA22
PART II - AUTHENTICATION
a NAME OF RATER (Last, First, Middle Initral) SSN SIGNATURE DATE (YYYYMMOD)
FRANZEN, MARCUS T. $23-23-3135 FRANZEN MARCUS TODD.1154698S) 20090706
RANK PMOSC/BRANCH ORGANIZATION DUTY ASSIGNMENT RATER'S AKO EMAIL ADDRESS (gov or mil)
CPT SF ACO, 4TH BN, 5TH SFG(A) DET CDR marcus.t.franzen@us.army.mil
b. NAME OF SENIOR RATER (Last, First, Middie initial) SSN Si DATE (YYYYMMOD)
DYKE, JOHN R. XXX-XX-XXXX IDYXEJOEN RAND 1110070050 20090708
RANK PMOSC/BRANCH ORGANIZATION OUTY ASSIGNMENT SENIOR RATER S AKO EMAIL ADORESS (.gov. or .mil)
MAJ SF A CO, 4TH BN, 5TH SFG(A) CO CDR john.dyke@us.army.mil
c. NAME OF REVIEWER (Last, Firsi, Middle initial) SSN SIGNATURE DATE (YYYYMMOD)
RASKIN, WILLIAM A. 455-537-8034 | RASKIN. WILLIAMALEXANDER 112854) 20090715
RANK PMOSC/BRANCH ORGANIZATION DUTY ASSIGNMENT REVIEWER'S AKO EMAIL ADDRESS (.gov. or mil)
LTC SF HHD, 4TH BN, 5TH SFG(A) BN CDR william.raskin 1 @us.army.mil

 

 

d. x CONCUR WITH RATER AND SENIOR RATER EVALUATIONS [] NONCONCUR WITH RATER AND/OR SENIOR RATER EVAL (See attached comments)

 

 

@€, RATEO NCO | understand my signature does not ig t of disage 1 with the eval of
the rater and senior rater | further understand my signature verifies that the administralive data in Part |, the ratin: SIGNATURE DATE (YYYYMMDO)

 

 

 

 

 

 

officials in Part Il, the duly description to include the counseling dates in Pari lil, and the APFT and height/weigh! —

entries tn Part IVé are correct Ihave seen the completed report | am aware of the appeals process of A e138 |BROWN. JEREMY MICHAEL. 1057683K) 20090716
PART Ill - DUTY DESCRIPTION (Rater)

a. PRINCIPAL OUTY TITLE b. DUTY MOSC

Special Forces Operations Sergeant 18Z5VW8

 

 

c. DAILY DUTIES AND SCOPE (To include, as appropnate, people, equipment, facilities and dollars)

Detachment Operations Sergeant for a 12 man Military Freefall Special Forces Operational Detachment-Alpha (SFODA) specializing in
all Special Forces missions and training in the CENTCOM Area of Responsibility; advises the Detachment Commander on all aspects of
the employment of the detachment; supervises all daily activities of the detachment; counsels and mentors all enlisted members of the
detachment; develops training plans and concepts in peacetime and detailed operations plans in combat; capable of training and advising an
indigenous battalion size force; oversees the accountability and maintenance of all detachment equipment valued in excess of $1,500,000.

d. AREAS OF SPECIAL EMPHASIS
Detachment Standing Operating Procedure (SOP) Training; Operation IRAQI FREEDOM (OIF); Pre-Mission Training (PMT); OIF VI.

 

 

e APPOINTED OUTIES
Static Line Jumpmaster, Drop Zone Safety Officer, Detachment Ammunition Manager, Primary Key Custodian, Team's Primary FID
Trainer, Detachment Senior Sniper, Range Safety Officer, NCOPD Coordinator

 

 

 

 

 

 

 

 

 

 

 

 

f COUNSELING DATES INITIAL LATER LATER LATER
20080728 20081021 20090121 20090420

PART IV- ARMY VALUES/ATTRIBUTES/SKILLS/ACTIONS (Rater)

a. ARMY VALUES. Check either “YES” or "NO". (Comments are mandatory for "No" entries, optional for "Yes" entries ) YES | NO
1 LOYALTY: Bears true faith and allegiance to the U. S. Constitution, the Army, the unit, and other soldiers

Loyalty DUTY Fulfills their obligations.
V Respect . RESPECT/EO/EEO: Treats people as they should be treated.
A Selfless-Service SELFLESS-SERVICE: Puts the welfare of the nation, the Army, and subordinates before their own.

 

. INTEGRITY. Does what is right - tegally and morally.
. PERSONAL COURAGE Faces fear, danger, or adversity (physical and moral).
U Bullet comments
0 maintains the highest standard of personal and professional behavior at all times

Honor E .

Integrity o sacrifices personal welfare for the unit and mission accomplishment
Personal Courage S

L

 

2
3
4
5. HONOR. Lives up to all the Army values.
6
7

 

 

 

 

 

 

 

o dedicated to the values and traditions of the Army

 

 

 

 

DA FORM 2166-8, MAR 2006 PREVIOUS EDITIONS ARE OBSOLETE. Page 1 of 2
APD PE v3.01ES

 

 

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Case 8:21-cr-00348-SCB-SPF Document 345-4 Filed 03/27/23 Page 26 of 34 PagelD 5135

 

RATED NCO'S NAME (Lasi, First, Middle initial)
+ BROWN, JEREMY M.

SSN THRU OATE

 

 

 

PART IV (Rater) - VALUES/NCO RESPONSIBILITIES

XXX-XX-XXXX 20090430 +
Bullet comments are mandatary

Substantive bultet comments are required for “EXCELLENCE” or “NEEOS IMPROVEMENT *

 

b. COMPETENCE

© Duty proficiency, MOS competency

© Technical & tactical; knowledge, skills, and
abilities

o Sound judgment

© Seeking self-improvement; always learning

o Accomplishing tasks to the fullest capacity;
committed to excellence

EXCELLENCE SUCCESS NEEDS IMPROVEMENT
(Exceeds std) (Meets sta) (Some) (Much)

o planned and supervised the training of more than 110 Tal Afar SWAT troopers; vastly
increased their capability to conduct unilateral COIN operations

o advised the Detachment Commander during 13 engagements with Iraqi government
and security officials in a non-Coalition Forces controlled area of Iraq

o displayed sound judgment and timely decisions during combat operations in Iraq that
was key to mission success

 

c PHYSICAL FITNESS & MILITARY BEARING

o Mental and physical toughness

o Endurance and stamina to go the distance

o Displaying confidence and enthusiasm,
looks like a soldier

NEEDS IMPROVEMENT
(Some) (Much)

[] [|

EXCELLENCE
(Exceeds std)

x

SUCCESS

APFT PASS 20090226 HEIGHTWEIGHT 72 / 190 YES

 

o scored 290 on the APFT

o always maintained his calm, cool, and collected manner while displaying the needed
aggressiveness to succeed on any mission during Operation IRAQI FREEDOM VI

© set the standard for the ODA's exceptional physical fitness with his PT program

 

(Meets std)
d. LEADERSHIP
© Mission first
o Genuine concern for soidiers
© Instilling the spirit to achieve and win
o Setting the example; Be, Know, Do

o conducted 55 combat missions to include 10 combined raids resulting in two cache
recoveries and seven captured combatants

o mentored 10 junior NCOs, resulting in one promotion to Staff Sergeant, and two
promotions to Sergeant First Class

 

© Individual and team
© Mission focused; performance onented

© Teaching soldiers how; common tasks,
duty-related skills

o Sharing knowledge and experience to fight,
survive and win

EXCELLENCE SUCCESS
(Exceeds std) (Meets std)

NEEDS IMPROVEMENT
(Some) (Much)

EXCELLENCE SUCCESS NEEDS IMPROVEMENT . . .

(Exceeds std) (Meets std) (Some) (Much) o fostered a professional command climate that resulted in four Detachment Soldiers
[| S<] [ ] [7] making the commitment to reenlist prior to and during OIF VI

e. TRAINING

o proved invaluable for instructing 10 Tal Afar SWAT NCOs, with his technical and
tactical expertise, to train and conduct for future Counter-Terrorism operations

o planned and executed a Pre-Mission Training plan and SOP refinement resulting in
an overwhelmingly successful deployment to Operation IRAQI FREEDOM VI

o ensured fundamental skills training during PMT; his shoot, move, and communicate
focus encompassed all vital components for the integration of new team members

 

f. RESPONSIBILITY & ACCOUNTABILITY

Care and maintenance of equipment/facilities
Soldier and equipment safety

Conservation of supplies and funds
Encouraging soldiers to learn and grow
Responsible for good, bad, right & wrong

EXCELLENCE SUCCESS
(Exceeds std) (Meets std) (Some)

Cd x [|

oaooo°o

(Mui
[|

NEEDS IMPROVEMENT
ich)

© encouraged team members to work to strengthen weaknesses and shared knowledge
during Operation IRAQI FREEDOM VI

o ensured 100% accountability for $500,000 worth of weapons and classified
equipment without loss, despite the demands of the Iraqi operational environment

© integrated practical risk assessment throughout all operations, ensuring mission
success; resulting in zero accidents during high-risk combat operations and training

 

PART V - OVERALL PERFORMANCE AND POTENTIAL

 

a. RATER Overall potential for promotion andéar
service in positions of greater responsibility.

AMONG THE
BEST CAPABLE MARGINAL

xX [ (|

FULLY

@. SENIOR RATER BULLET COMMENTS
0 promote with peers

o send to the First Sergeant Course

o will excel as a Special Forces Company First Sergeant

 

b RATER. List 3 positions in which the rated
NCO could best serve the Army at his/her
current or next higher grade

HHC First Sergeant

 

Battalion Operations Sergeant Major

 

Company Sergeant Major

 

o continue to place in positions of increased responsibility

 

 

c. SENIOR RATER. Overall performance

 

d. SENIOR RATER. Overall potential
for promotion and/or service in

oO Roo

 

 

 

1 2 3 eu
positions of greater responsibility.
+ Successful Fair Poor Superior Fair Poor
DA FORM 2166-8, MAR 2006 Page 2 of 2
APD PE v3 O1ES

 

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Case 8:21-cr-00348-SCB-SPF Document 345-4 Filed 03/27/23 Page 27 of 34 PagelD 5136
Oapse2z9 NGO EVALUATION REPORT EEE BEMSOY ACE SMTEMN?
For use of this form, see AR 623-3 , the proponent agency is DCS, G-1 IN AR 623-3
PART | - ADMINISTRATIVE DATA
a NAME (Last, First: Middle Initial) b SSN c RANK d DATE OF RANK [e PMOSC
BROWN, JEREMY M 246-27-1 100 MSG ( 20071001 18Z5 VW8PF
f1 UNIT ORG STATION ZIP CODE OR APO, MAJORCOMMAND |f2 STATUSCODE |g REASON FOR SUBMISSION
ACO ,4TH BN, 5TH SFG (A), FT CAMPBELL, KY 42223 USASOC 03 | Change of Rater
h PERIOD COVERED 1 RATEO | 4 NON- k NO OF | 1 RATED NCO'S EMAIL ADDRESS m UIC n CMD o PSB
FROM THRU MONTHS | RATED ENCL (gov or mil) CODE CODE
CODES a
YEAR MONTH DAY | YEAR MONTH DAY jeremy michael brown/@
20090501 20091031 6 l us army mil WJQ3A0 SP UA22
PART I! - AUTHENTICATION
a NAME OF RATER (Last. First, Middle tritial) SSN SIGNATURE DATE (YYYYMMDD)
FRANZEN, MARCUS T XXX-XX-XXXX FRANZEN MARCUS. TODD.1IS4638! = [20091208
RANK PMOSC/BRANCH ORGANIZATION DUTY ASSIGNMENT RATER'S AKO EMAIL ADDRESS (gov or mil)
CPT SF ACO ,4THBN, 5TH SFG (A) DET CDR marcus t franzen(@us army mil
b NAME OF SENIOR RATER (Last. First. Middle Initial) SSN SIGNATURE DATE (YYYYMMDD)
METCALF, KEYES M XXX-XX-XXXX METCALF. KEYES. MANSFIELD.1M7H7 =§©|20091208
RANK PMOSC/BRANCH ORGANIZATION DUTY ASSIGNMENT SENIOR RATER S AKO EMAIL ADDRESS (gov or mil}
MAI SF ACO, 4TITBN, STIT SFG (A) CO CDR keves metcalf@us army mil
c NAME OF REVIEWER (Last. First Midole Initial) SSN SIGNATURE DATE (YYYYMMDD)
RASKIN, WILLIAM A XXX-XX-XXXX RASKIN. WILLIAM ALEXANDER 112858 = (20100309
RANK PMOSC/BRANCH ORGANIZATION DUTY ASSIGNMENT REVIEWER'S AKO EMAIL ADDRESS (gov or mil)
LTC SF A CO, 4TH BN, 5TH SFG (A) BN CDR william raskin1(@us army mil
d CONCUR WITH RATER AND SENIOR RATER EVALUATIONS x) NONCONCUR WITH RATER AND/OR SENIOR RATER EVAL (See attached comments)
Ups reer i, wecie srt og eee a rR Lh | eee»
entries in Part IVc are correct 1 have seen the completed report | am aware of the appeals process of AR 623-3 BROWN. JEREMY MICHAEL. 10576835 20100324
PART Ill - OUTY DESCRIPTION (Rater)
a PRINCIPAL DUTY TITLE b DUTY MOSC
Special Forces Detachment Operations Sergeant 18Z50W8

 

 

c DAILY DUTIES AND SCOPE (To incluce, as appropnate. people. equipment, facilities and dollars)

Detachment Operations Sergeant for a 12-man Military Freefall Special Forces Operational Detachment-ALPHA (SFOD-A) specializing
in all Special Forces missions and training in the CCNTCOM area of operations, advises the detachment commander on all aspects of the
employment of the detachment, supervises all daily activities of the detachment, counsels and mentors all enlisted members of the
detachment, develops traming plans and concepts in peacetime and detailed operations plans in combat, capable of traming and advising an
indigenous battalion size force, oversees the accountability and maintenance of all detachment equipment valued in excess of $1,500,000

d AREAS OF SPECIAL EMPHASIS
Operation IRAQI FREEDOM VI (OIF VI), Deployment Recovery

 

 

@ APPOINTED DUTIES
Static Line Jumpmaster, Range NCOIC, NCOPD Coordinator, Safety Officer

 

f COUNSELING DATES INITIAL LATER
20090502 20090801

PART IV - ARMY VALUES/ATTRIBUTES/SKILLS/ACTIONS (Rater)

LATER LATER

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

a ARMY VALUES Check either “YES" or "NO" (8ullet Comments are mandatory Substantive bullet comments are required for “NO” entries ) YES | NO
1 LOYALTY Bears true farth and allegiance to the U S Constitution, the Army, the unit, and other Soldiers |
Loyalty 2 DUTY Fulfills their obligations
V Recpect 3 RESPECT/EO/EEO Treats people as they should be treated
A Selfless-Service 4 SELFLESS-SERVICE Puts the welfare of the nation, the Army, and subordinates before their own
§ HONOR Lives up to all the Army values
L 6 INTEGRITY Does what is right - legally and morally
7 PERSONAL COURAGE Faces fear, danger, or adversity (physical and moral)
U [Bullet comments
© maintained the highest standard of personal and professional behavior ut all times
Honor E . . .
Integnity o sacrificed personal welfare for the unit and mission accomplishment
Personal Courage S
o dedicated to the values and traditions of the Army
DA FORM 2166-8, MAR 2006 PREVIOUS EDITIONS ARE OBSOLETE Page 4 of 2

APD PE v6 00ES

 

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Case 8:21-cr-00348-SCB-SPF Document 345-4 Filed 03/27/23 Page 28 of 34 PagelID 5137

 

 

 

 

 

 

RATED NCO'S NAME (Last. First, Middle Initial) SSN THRU DATE
+ BROWN, JEREMY M XXX-XX-XXXX 20091031 +
PART IV (Rater) - VALUES/NCO RESPONSIBILITIES Substantve bultel comments ee required for EXCELLENCE" or ‘NEECS IMPROVEMENT °
b COMPETENCE o planned and conducted over 100 combat patrols and 21 Direct Action raids resultin
© Duty proficiency, MOS competency P > p . &
© Technical & taciical, knowledge, skills, and tn the capture of nine HVIs while serving as Detachment Operations Sergeant
abilities
© Sound judgment o selected as the 4th BN Rear Detachment NCOIC due to demonstrated excellence in
o Seeking self-improvement, always learning
© Accomplishing tasks to the fullest capacity, administration and accountability

committed to excellence

EXCELLENCE SUCCESS NEEDS IMPROVEMENT ; 5 s -
(Exceeds std). (Meets std) (Some) (Much) o coordinated and worked with multiple Special Operations units to include Task Force

 

 

160th and SEALs
¢ PHYSICAL FITNESS & MILITARY BEARING APFT PASS 20090921 HEIGHT/WEIGHT 72/4 200 YES |
© Mental and physical toughness o consistently scores above 290 on the APFT

o Endurance and stamina to go the distance
o Displaying confidence and enthusiasm,

looks like a Soldier o set the standard for the appearance and professional demeanor of a Special Forces
Soldier while dealing with conventional force leadership on a daily basis

EXCELLENCE SUCCESS NEEDS IMPROVEMENT
(Exceeds std) (Meets std) (Some) (Much)
d LEADERSHIP

| (|
o Mission first

o Genuine concern for Soldiers
9 Instiling the spirit to achieve and win

© Setting the example, Be, Know, Do o led his team into it's first combat deployment with seven members who had never
deployed and returned with no loss to personnel

o maintained a calm professional manner during all high risk operations and training

 

o served as acting Detachment Commander for the last month of Operation IRAQI
FREEDOM VI to include Transition of Authority and Redeployment

EXCELLENCE SUCCESS NEEDS IMPROVEMENT
(Exceeds std) (Meets std) (Some) (Much) o mentored two Soldiers to re-enlist while deployed in a combat environment

| tf
e TRAINING

© Individual and team

o Mission focused, performance oriented

° Teaching Soldiers how, common tasks,
a

 

o advised and mentored nine Special Forees NCOs in training the 110 man Tal Afar
SWAT, making them the premier Iraqi Counter Terrorist Force in the Ninewa Province

° one eee and experience te fight © recognized by the FOB SYKES Commander for his mvolvement in the betterment of
auane and win a NCO careers as the primary instructor for a 13-week finance course
EXCELLENCE SUCCESS NEEDS IMPROVEMENT . .
(Exceeds std) (Meets std) (Some) (Much) o implemented a thorough SFOD-A traimng program during FMP? CULEX,

| | successtully preparing 11 Special Forces Soldiers for combat
f RESPONSIBILITY & ACCOUNTABILITY

 

o maintained accountability of $1,500,000 00 worth of equipment as the primary hand

 

 

 

o Care and maintenance of equipmentsfacilities receipt holder during a combat rotation and re-deployment with no loss or damages
o Soldier and equipment safety
o Conservation of supplies and funds
© Encouraging Soldiers to learn and grow o enforced safety and risk mitigation resulting in zero myurics over the course of over
0 Responsible for good, bad, right & wrong 100 combat operations and numerous airborne operations

EXCELLENCE SUCCESS NEEDS IMPROVEMENT . .

(Exceeds std) (Meets std) (Some) (Much) 0 effectively supervised the dispersion, tracking and accountahility of Operational!

x i | | Funds and Class I Funds totaling over $50,000 without error, fraud, waste, or abuse
PART V - OVERALL PERFORMANCE AND POTENTIAL

a RATER Overall potential for promotron and/or e SENIOR RATER BULLET COMMENTS
service in positions of greater responsibility 0 promote to Sergeant Major ahead of peers

AMONG THE FULLY o send to the United States Army Sergeants Major Academy at first opportunity and

peST CAPABLE MARGINAL continue to groom for future leadership positions

b RATER List 3 positions in which the rated o absolutely unlimited potential in any Special Forces position of responsibility or
NCO could best serve the Army at his/her tactical leadership role within the Special Operations Community
current or next higher grade

HHC First Sergeant o extraordinary performance by a proven combat lcader, technical and tactical

 

knowledge 1s exceptional and the Soldier is an asset to any unit
Battalion Operations Sergeant Major

 

 

 

 

 

 

 

 

Company Scrgcant Major o a true professional, a future Special Forces Company Sergeant Major
c¢ SENIOR RATER Overall performance xi | d SENIOR RATER Overall potential >< |
oe; A for promotion and/or service in
positions of greater responsibility 41 2 3 4 5
Successful Far Poor
+ Superior Fair Poor
DA FORM 2166-8, MAR 2006 Page 2 of 2

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e 29 of 34 PagelD 5138

 

NCO EVALUATION REPORT

FOR OFFICIAL USE ONLY (FOUO)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

+ SEE PRIVACY ACT STATEMENT +
‘or use of this form, see AR 623-3, the proponent agency is DCS, G-1 IN AR 623-3
PART | - ADMINISTRATIVE DATA
a NAME (Last, First: Middle Initial) b SSN c RANK d DATE OF RANK | e PMOSC
BROWN, JEREMY XXX-XX-XXXX MSG (¢ )| 20071001 18Z5 VW8PF
{1 UNIT ORG STATION ZIP CODE ORAPO, MAJORCOMMAND |f2 STATUSCODE |g REASON FOR SUBMISSION
HHD, 4TH BN, 5TH SFG(A), FORT CAMPBELL, KY 42223 USASOC 04 | PCS
h PERIOD COVERED 1 RATED |) NON- k NO OF || RATED NCO'S EMAIL ADDRESS m UIC n CMD o PSB
FROM THRU MONTHS RATED ENCL (gov or mil) CODE CODE
YEAR MONTH DAY | YEAR MONTH DAY jeremy nuchael brown @us army m
20091101 20100331 5 il WJQ3T0 SP UA22
PART II - AUTHENTICATION
a NAME OF RATER (Last. First. Middle iritial) SSN SIGNATURE DATE (YYYYMMDD)
KHOURY, JOSHUA S$ XXX-XX-XXXX KHOURY JOSHUA SHEHADEELI7IZ33 §=|20100322
RANK PMOSC/BRANCH ORGANIZATION DUTY ASSIGNMENT RATER'S AKO EMAIL ADDRESS (gov or mil)
CPT SF HHD, 4TH BN, 5TH SFG(A) REAR DET CDR joshua khoury@us army mil
b NAME OF SENIOR RATER (Last, First. Middle Initial) SSN SIGNATURE DATE (YYYYMMDD)
DYKE, JOHN R XXX-XX-XXXX DYKE.JOHN.RAND 119078052 |20100322
RANK PMOSC/BRANCH ORGANIZATION DUTY ASSIGNMENT SENIOR RATER S AKO EMAIL ADDRESS (gov or mil)
MAJ SF HD, 4TI BN, STH SFG(A) BN XO john dykei@us army mil
c NAME OF REVIEWER (Last, First Midole Initial ) SSN SIGNATURE DATE (YYYYMMOD)
RASKIN, WILLIAM A XXX-XX-XXXX RASKIN. WILLIAM ALEXANDER ILO = 20100322
RANK PMOSC/BRANCH ORGANIZATION DUTY ASSIGNMENT REVIEWER'S AKO EMAIL ADDRESS (gov or mil)
LTC SF HHD, 4TH BN, 5TH SFG(A) BN CDR william raskin | (@us army mul
d Xx CONCUR WITH RATER AND SENIOR RATER EVALUATIONS NONCONCUR WITH RATER AND/OR SENIOR RATER EVAL (See attached comments)
fhe tater and senioe rater further understang my Sarat venhes that the admaesteatwe "date i Part |, the raphe SIGNATURE DATE (YYYYMMDD)
Ste eet Ve a ee ee a eee ee ane praeae an eSe | BROWN JEREMY MICHABL. 10576835 20100324

 

 

PART Ill

- DUTY DESCRIPTION (Rafer)

 

a PRINCIPAL DUTY TITLE
REAR DETACHMENT

NCOIC

b DUTY MOSC
18Z50

 

 

strength management

c DAILY DUTIES AND SCOPE /To incluce, as appropnate. people, equipment, facilittes and dollars)
Responsible for assisting and advising the Rear Detachment Commander, representing the 4/5th SFG(A) OCONUS Command Sergeant
Major, maintainmg communication between forward and rear elements. representing the Battalion with Sth SFG(A) and USASFC,
particularly within senor NCO channels, assist in Casualty Noufication Operations and Casualtv Assistance Operations, maintain
oversight of logistical and administrative functions of the Rear Detachment in support of the deployed unit, maintam oversight of enlisted

 

d AREAS OF SPECIAL EMPHASIS
Casualty Notification Operations(CNO)/Casually Assistance Operaions (CAO). Support to Unit Famihes and Family Readiness Group
(FRG), Property accountability

 

e APPOINTED DUTIES

Alpha Company Rear Detachment hand receipt holder

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

f{ COUNSELING DATES INITIAL LATER LATER LATER
20091210 20100301
PART IV - ARMY VALUES/ATTRIBUTES/SKILLS/ACTIONS (Rater)
a ARMY VALUES Check either "YES" or "NO" (Sullet Comments are mandatory Substantive bullet comments are required for -NO° entries ) Yes | no
1 LOYALTY Bears true faith and allegiance to the U S$ Constitution, the Army, the unit, and other Soldiers |
Loyalty 2 DUTY Fulfills thei obligations
V a 3 RESPECT/EO/EEO Treats people as they should be treated
A Selfless-Service 4 SELFLESS-SERVICE Puts the welfare of the nation, the Army, and subordinates before their own
§ HONOR lwes up to all the Army values
L 6 INTEGRITY Does what is right - legally and morally
7 PERSONAL COURAGE Faces fear, danger, or adversity (physical and moral)
| Bullet comments
U o completes assigned tusks promptly
Honor E » .
Integrity 0 treats Soldiers and unit family members with fairness, equality, and the dignity they deserve
Personal Courage S
© sets a strong personal moral example for all he works with
DA FORM 2166-8, MAR 2006 PREVIOUS EDITIONS ARE OBSOLETE Page 1 of 2

APD PE v6 OOES

 

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Case 8:21-cr-00348-SCB-SPF Document 345-4 Filed 03/27/23 Page 30 of 34 PagelID 5139

 

 

 

 

 

 

 

RATED NCO’S NAME (Last, First, Middle Initial) SSN THRO DATE
+ BROWN, JEREMY XXX-XX-XXXX 20100331 +
PART IV (Rater) - VALUES/NCO RESPONSIBILITIES Substantive bullel commenls tre requued for “EXCELLENCE” or ‘NEECS IMPROVEMENT °
b COMPETENCE o selected to serve as the Rear Detachment NCOIC over all other MSGs' in the

o Duty proficiency, MOS competency Battalion
o Technical & tactical, knowledge, skills, and
abilities
© Sound judgment o managed the daily operations of the Rear Detachment personnel and staff sections
o Seeking self-improvement, always learning h ll ks w 1 d
© Accomplishing tasks to the fullest capacity, ensuring that all tasks were accomplished to standar

committed to excellence

EXCELLENCE SUCCESS NEEDS IMPROVEMENT , stics
(Exceeds std) (Meets std) ’Some) (Much) o supported all Battalion deploying personnel and equipment with the logistics
necessary to meet the deployment timeline without incident

 

¢ PHYSICAL FITNESS & MILITARY BEARING APFT PASS 20100223 HEIGHTWEIGHT 717 186 YLS

© Mental and physical toughness o scored 280 on the APFT, excecded USASFC standards
o Endurance and stamina to go the distance

o Displaying confidence and enthusiasm,
looks like a Soldier o implemented a rigorous and successful physical traintng program for the Rear
Detachment Soldiers

 

EXCELLENCE SUCCESS NEEDS IMPROVEMENT
(Exceeds std) (Meets std) (Some) (Much)

X< | []
d LEADERSHIP
© Mission first
o Genuine concern for Soldiers
© Instilling the spirit to achieve and win
© Setting the example, Be, Know, Do o advised the Rear Detachment Commander and Battalion CSM on all personnel,

administrative and operational matters assisting both to make sound decisions quickly

 

o led and mentored three Sergeants First Class on their duties and responsibilities as
the semor NCO of a 19-man Battalion Rear Detachment

EXCELLENCE SUCCESS NEEDS IMPROVEMENT

 

(Exceeds std) (Meets std) (Some) (Much)
e TRAINING

o ensured that all eligible members of the Rear Detachment were trained on
CNO/CAO responsibilities according to Army and 5th SFG(A) standard procedures

o Individual and team

o Mission focused, performance onented

° Teaching Soldiers how, common tasks,
la

5 one es en 0 trained Soldiers and the Family Readiness Group on Army and istallation services
ight,
survivd and an P g available to deployed Soldiers and their famibhes to increase their qualily of care
EXCELLENCE SUCCESS NEEDS IMPROVEMENT
(Exceeds std) (Meets std) (Some) (Much)

 

f RESPONSIBILITY & ACCOUNTABILITY o managed the accountability and maintenance of over $4 million worth of standard

o Care and maintenance of equipment'facilities and specialized equipment without incident
o Soldier and equipment safety

o Conservation of supplies and funds
°

°

Encouraging Soldiers to fearn and grow o provided accurate and timely logistical and administrative support to a deployed
Responsible for good, bad, right & wrong Special Forces Battalion in support of Operation Iraqi Freedom VII

EXCELLENCE SUCCESS NEEDS IMPROVEMENT

(Exceeds std) (Meets std) (Some) (Much) o enforced safety and risk mitigation standards for all Rear Detachment Soldiers.

without incident or injury
PART V - OVERALL PERFORMANCE AND POTENTIAL

 

 

 

a RATER Overall potential for promotion and/or e SENIOR RATER BULLET COMMENTS
service in positions of greater responsibility o continue to groom for promotion
AMONG THE FULLY o schedule for joint SOF interoperability professional courses
BEST CAPABLE MARGINAL
x {| o successful performance as the Battalion's Rear Detachment NCOIC
b RATER List 3 positions in which the rated .
NCO could best serve the Army at his/her o conunue to develop for positions of responsibility within USASOC

current or next higher grade

SF Company Operations Sergeant

 

SF Battalion Support Company First Sergeant

 

 

Military Free Fall Course Senior Instructor

 

 

 

 

 

 

c SENIOR RATER Overall performance x | | d SENIOR RATER Overall potential <I |
1 2 3 4 8 for promotion and/or service in
positions of greater responsibility 1 2 3 4 5
Successful Far Poor
+ Superior Fair Poor
DA FORM 2166-8, MAR 2006 Page 2 of 2

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oy" NCO EVALUATION REPORT eee
+ For use of this form, see AR 623-3 , the proponent agency is DCS, G-1 IN AR 623-3 +
PART | - ADMINISTRATIVE DATA _ |
a NAME (Last, First, Middle initial) b SSN |¢ RANK \d DATE OF RANK | e PMOSC
BROWN, JEREMY M | XXX-XX-XXXX |MSG  ¢ ) | 20071001 18Z5VW8TH
f1 UNIT ORG STATION ZIP CODE OR APO, MAJORCOMMAND |f2 STATUSCODE |g REASON FOR SUBMISSION
| Special Operations Command-Central, MacDill AFB, FL 33621 CENTCOM 02 | Annual
h PERIOD COVERED | | RATED | 4 NON- k NO OF | 1 RATED NCO'S EMAIL ADDRESS m vic n CMD o PSB
-aoM TaRU MONTHS | RATED ENCL (gover m) | CODE CODE
—_ CODES ;
YEAR MONTH DAY| YEAR MONTH DAY jeremy michael brown@us anny m
20100401 20110331 | 12 ul W4T3AA |JA RCO2
PART II - AUTHENTICATION
a NAME OF RATER (Last. First. Middle Initial) SSN | SIGNATURE | DATE (YYYYMMOD}
BROWN, RONALD B XXX-XX-XXXX BROWN.RONALD. BRET. 1127879750 20110929
RANK PMOSC/BRANCH ORGANIZATION DUTY ASSIGNMENT RATER'S AKO EMAIL ADDRESS (gov or mil)
CWs5 180A / SF J3X SOCCENT J3X Division Chief {ronald bret brown@us army mil
b NAME OF SENIOR RATER (Last. First, Middle Initial) SSN SIGNATURE | DATE (YYYYMMDD)
BLUE, BRYAN H | XXX-XX-XXXX BLUE.BRYAN HAMPTON. 1055430833 20110929
RANK PMOSC/BRANCH ~~ ORGANIZATION DUTY ASSIGNMENT SENIOR RATER S AKO EMAIL ADDRESS (gov or mil)
COL 18A/SF J3 SOCCENT Deputy Director bryan blue@us army mil
c NAME OF REVIEWER (Last. First, Midcle Initial } | SSN | SIGNATURE | DATE (YYYYMMDD)
MIS, JAMES M | XXX-XX-XXXX | MIS.JAMES. MICHAEL. 1016058412 |201 10930
RANK —« PMOSC/BRANCH ORGANIZATION "DUTY ASSIGNMENT REVIEWER'S AKO EMAIL ADDRESS (gov or mil) |
COL 18A/SF J3 SOCCENT Operations Director |james m mis@us army mul

 

 

 

 

d x CONCUR WITH RATER AND SENIOR RATER EVALUATIONS |__| NoNconcuR WITH RATER AND/OR SENIOR RATER EVAL (See attached comments)

@ RATEDNCO | understand my does not cor tor t with the evaluations of — — Y
the rater and sentor rater | further understand my signature venties that the adminvatratwe data in Part |, the rating | SIGNATURE ] DATE (vyy" MMDD)

officials in Part Il, the duty description to include the counseling dates tn Part Ill, and the APFT and height/wei

entries in Part (Vc are correct | have seen the completed report | am aware of the appeals process of AR oe BROWN. JEREMY MICHABL. 1057683976 (20111003

 

PART Ill - DUTY DESCRIPTION (Rater)

 

a PRINCIPAL DUTY TITLE b DUTY MOSC
J3X Special Activities Division NCOIC 18Z50

lc DAILY DUTIES AND SCOPE (To include, as ; appropnate, people. equipment, facilities and dollars)

Serves as the Special Operations Command Central (SOCCENT) J3X Special Activities Division NCOIC, advises the command on the
employment, resourcing, training and operational planning for Special Operations Forces employment, Focal Point and special category
action officer for the planning and coordination of sensitive operations and activities, develops, coordinates and advises the command on
Personnel Recovery and Nonconventional Assisted Recovery (NAR) activities, assists in the development and acquisition of SOF peculiar
equipment, materials and supplies to support OPE and PR efforts

 

d AREAS OF SPECIAL EMPHASIS
Nonconvenuonal Assisted Recovery (NAR), Command 1208 Pohcy Development, Refinement of ADVENT LADEN Situation Report
(SITREP) Format, Austere Force Protection Kit Fielding, Personnel Recovery 301 Course

 

e APPOINTED DUTIES
Static Line Jumpmaster

 

 

 

 

 

f COUNSELING DATES INITIAL | LATER LATER | LATER
20100604 20100910 20101217 | 20110325
PART IV - ARMY VALUES/ATTRIBUTES/SKILLS/ACTIONS (Rater)
la ARMY VALUES Check either "YES" or "NO" (Buliet Comments are mandatory Substantive bullet comments are required for “NO” entries ) Yes | No

 

1 LOYALTY Bears true farth and allegiance to the U S$ Constitution, the Army, the unit, and other Soldiers x {|

 

 

Loyalty 2 DUTY Fulfills their obligations
V Respect | 3 RESPECT/EO/EEO Treats people as they should be treated _
A Selfless-Service 4 SELFLESS-SERVICE Puts the welfare of the nation, the Army, and subordinates before their own
5 HONOR Luves up to all the Army values
L 6

 

 

 

 

 

 

 

 

 

INTEGRITY Does what is nght - legally and morally
7 PERSONAL COURAGE Faces fear, danger, or adversity (physical and moral)

U Bullet comments

o remains calm under pressure
Honor E

Integrity 0 respectful to superiors and subordinates alike, committed to building the morale of the unit
Personal Courage S

 

 

 

XXX>

 

o exhibits the highest standards of loyalty and personal courage

 

 

 

 

DA FORM 2166-8. MAR 2006 PREVIOUS EDITIONS ARE OBSOLETE Page 1 of 2
’ APD PE v6 00ES

 

 

DISC-09694
Case 8:21-cr-00348-SCB-SPF Document 345-4 Filed 03/27/23 Page 32 of 34 PagelD 5141

 

RATED NCO'S NAME (Last. Furst: Middle Initial)
BROWN, JEREMY M

SSN THRU DATE
+

 

 

 

PART IV (Rater) - VALUES/NCO RESPONSIBILITIES

XXX-XX-XXXX 20110331
Bullet comments are mandatory

Substeative bullet comments are required for ‘EXCELLENCE’ or ‘NEEDS IMPROVEMENT *

 

b COMPETENCE

o Duty proficiency, MOS competency

o Technical & tactical, knowledge, skitls, and
abilities

o Sound judgment

o Seeking self-improvement, always learning

© Accomplishing tasks to the fullest capacity,
committed to excellence

EXCELLENCE

(Exceeds std) (Meets std) (Some) (Much)

 

 

SUCCESS NEEDS IMPROVEMENT

o worked to develop, staff and disseminate the updated SOCCENT 1208 policy which
ensured SOCCENT and subordinate commands were synchronized

o refined, streamlined and standardized the ADVENT LADEN SITREP format which
increased dissemination of information to higher headquarters and the Command

o assisted in the validation and fielding of Austere Force Protection Kits that are being
fielded in support of the Village Stability Operations (VSO) in CENTCOM's AOR

 

c PHYSICAL FITNESS & MILITARY BEARING

© Mental and physical toughness

o Endurance and stamina to go the distance

o Displaying confidence and enthusiasm,
looks like a Soldier

d LEADERSHIP
o Mission first
o Genuine concern for Soldiers
o Instilting the spirit to achieve and win
o Setting the example, Be, Know, Do

EXCELLENCE SUCCESS

EXCELLENCE SUCCESS NEEDS IMPROVEMENT
(Exceeds std) (Meets std) (Some) (Much)
, \/
Xx LJ

NEEDS IMPROVEMENT

apet PASS 20110117 | HEIGHTAWVEIGHT 727 196 YES

 

o scored above 270 on the APFT

o set the standard for the appearance and professional demeanor of a Special Force's
Soldier

o placed the mission first and was ready to deploy at a moments notice

0 took time to mentor junior NCOs of all branches of service within the Joint
Command of SOCCENT

o self motivated, enthusiastic, always ready to take charge and accomplish the mission

 

(Exceeds std) (Meets std) (Some) (Much)
\/
_| x
e TRAINING

© Individual and team

o Mission focused, performance oriented

o Teaching Soldiers how, common tasks,
duty-related skills

o Sharing knowledge and experience to fight,
survive and win

EXCELLENCE SUCCESS

(Exceeds std) (Meets std) (Some) (Much)

NEEDS IMPROVEMENT

6 trained the CFSOCC battle staff on personnel recovery staff procedures which
greatly increased SOCCENT's personnel recovery capabilities within the AOR

o completed PR 301, JOSFAM course, and Personnel Recovery Management System
(PRMS) trang which enhanced the overall capabilities of SOCCENT

o shared past experiences as a warfighter while developing SOCCENT's Personnel
Recovery capabilities which gave a different perspective to joint staff officers

 

f RESPONSIBILITY & ACCOUNTABILITY

Care and maintenance of equipment/facilities
Soldier and equipment safety

Conservation of supplies and funds
Encouraging Soldiers to learn and grow
Responsible for good, bad, right & wrong

EXCELLENCE SUCCESS
(Exceeds std) (Meets std)

x Cd

o0o0oco

(Some) (Much)

NEEOS IMPROVEMENT

o ensured quality management and reporting of over $15 million in 1208
compartmented funding in support of operations in the USCENTCOM AOR

o managed no-fail SPECAT and Focal Point programs ensuring proper
compartmentation of documents and activities

o completed yumpmaster Refresher which provided a much needed additional
jumpmaster capability to the unit of few current yumpmasters

 

PART V - OVERALL PERFORMANCE AND POTENTIAL

 

a RATER Overall potential for promotion and/or
service tn positions of greater responsibility

AMONG THE FULLY
BEST CAPABLE MARGINAL
x O

e SENIOR RATER BULLET COMMENTS
© promote to Sergeant Mayor

o send lo First Sergeants course when possible

o excellent performance this rating period while assisting in standing up SOCCENT’s

 

b RATER List 3 positions in which the rated
NCO could best serve the Army at his/her
current or next higher grade

SF Battalion Operations Sergeant
CFSOCC First Sergeant

SF Company Sergeant Major

 

Personnel Recovery cell

o unlimited potential. vast knowledge of Special Operations, ready for mcreased
responsibility and demanding operational assignments

 

 

c SENIOR RATER Overall performance

 

x

d SENIOR RATER Overall potential
for promotion and/or service in

XL

 

 

i 2 3 4 5
positions of greater responsibility 1 2 3 4 5
+ Successful Far Poor Superior Fair Poor
DA FORM 2166-8, MAR 2006 Page 2 of 2

 

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0 NCO EVALUATION REPORT See ea
For use of this form, see AR 623-3 , the proponent agency 1s DCS, G-1 IN AR 623-3
PARTI - ADMINISTRATIVE DATA _
a NAME (Last, First, Middle Initial) b SSN c RANK d DATE OF RANK | e PMOSC
BROWN, JEREMY M | XXX-XX-XXXX |MSG_ ( ) | 20071001 18Z5VW8
f1 UNIT ORG STATION ZIP CODE OR APO, MAJORCOMMAND |f2 STATUSCODE |g REASON FOR SUBMISSION
Special Operations Command Central, MacDill AFB, FL 33621 CENTCOM | 02 Annual
h PERIOD COVERED 1 RATED |) NON- | k NO OF [1 RATED NCO'S EMAIL ADDRESS m UIC Jn CMD [o PSB
eon THRU 1 MONTHS | RATED ENCL (gov or mil 7 CODE CODE
YEAR MONTH DAY | YEAR MONTH Day | CODES Jeremy tuchael brown@us amny m
20110401 20120331 | 12 u W4AT3AA |} JA | RCO2
PART II - AUTHENTICATION
a NAME OF RATER (Last. First, Middle fritial) SSN SIGNATURE | DATE (YYYYMMOD)
BROWN, RONALD B XXX-XX-XXXX | BROWN.RONALD.BRET.11278797%Q |20120501
RANK PMOSC/BRANCH ORGANIZATION DUTY ASSIGNMENT RATER'S AKO EMAIL ADDRESS (gov or mil)
CW5 180A/SF Special Operations Command Central J3X Division Chief _|ronald bret brown@us army mil
b NAME OF SENIOR RATER (Last. First, Middle initial) | SSN SIGNATURE | DATE (YYYYMMDD)
BESETH, WILLIAM E |XXX-XX-XXXX | BESBTH WILLIAM BMMETT, 1020422) 120120501
RANK ~~ PMOSC/BRANCH ~ ORGANIZATION DUTY ASSIGNMENT SENIOR RATER S AKO EMAIL ADDRESS (gov or mil)
LTC 18A/SI Special Operations Command Central J35 Division Chef — [| william beseth‘@us army mil
c NAME OF REVIEWER (Last. First, Middle initial ) | SSN | SIGNATURE DATE (YYYYMMDD)
MIS, JAMES M | XXX-XX-XXXX MIS.JAMES. MICHAEL. 10160584@ ,20120502
| RANK = PMOSC/BRANCH ORGANIZATION DUTY ASSIGNMENT REVIEWER'S AKO EMAIL ADDRESS (gov or mi) |
COL 18A/SF Special Operations Command Central — Dur of Operations james m mis(@us army mil

 

 

d Xx CONCUR WITH RATER AND SENIOR RATER EVALUATIONS NONCONCUR WITH RATER AND/OR SENIOR RATER EVAL (See attached comments)
@ RATEDNCO | understand my signature does not ci 9 of disagreement with the evaluations of | SIGNATURE | TOF YYMMD
the rater and senior rater | further understand my signature verifies that the administrative data in Part |, the rating SIGNATURE DATE (YYYYMMOD)
officials in Part li, the duty description to include the counseling dates in Part Ill, and the APFT and heightiwe:

entries in Part IVc are correct | have seen the completed report | am aware of the appeals process of AR ey BROWN.JEREMY MICHAEL. 10576839 20120503
PART Il! - DUTY DESCRIPTION (Rater)

a PRINCIPAL DUTY TITLE b DUTY MOSC

J3X Special Activities Division NCO _ | 18250

c DAILY DUTIES AND SCOPE (To include, as appropnate, people. equipment. facilities and dollars)

Serves as the Special Operattons Command Central (SOCCENT) J3X Special Activities Division NCO, advises the command on the

employment, resourcing, training and operational planning for Special Operations Forces employment, Focal Point and special category

action officer for the planning and coordination of sensitive operations and activities, develops, coordinates and advises the command on

Personnel Recovery (PR) and Nonconventional Assisted Recovery (NAR) activities, assists in the development and acquisition of SOF

peculiar equipment. materials and suppltes to support OPE and PR efforts

d AREAS OF SPECIAL EMPHASIS —
Nonconventional Assisted Recovery (NAR)

 

 

 

 

 

 

e APPOINTED DUTIES
Static Line Jumpmaster

 

f COUNSELING DATES INITIAL LATER LATER LATER
20110504 | 20110819 20111102 20120203
PART IV - ARMY VALUES/ATTRIBUTES/SKILLS/ACTIONS (Rater)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

la ARMY VALUES Check either "YES" or "NO" (Buliet Comments are mandatory Substantive bullet comments are required for “NO” entries ) l YES NO
1 LOYALTY Bears true farth and allegiance to the U S Constitution, the Army, the unit, and other Soldiers | i}
Loyalty 2 DUTY Fulfills their obligations |
V Duty J
Respect 3 RESPECT/EO/EEO Treats people as they should be treated x
A Selfless-Service 4 SELFLESS-SERVICE Puts the welfare of the nation, the Army, and subordinates before their own <! |
5 HONOR Lives up to all the Army values *<
L 6 INTEGRITY Does what is nght - legally and morally x | |
7 PERSONAL COURAGE Faces fear, danger, or adversity (physical and moral) ><!

 

 

 

U Bullet comments

o remains calm under pressure
Honor E

 

 

 

 

Integrity 0 respectful to superiors and subordinates alike
Personal Courage S
DA FORM 2166-8, OCT 2011 PREVIOUS EDITIONS ARE OBSOLETE Page 1 of 2

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Case 8:21-cr-00348-SCB-SPF Document 345-4 Filed 03/27/23 Page 34 of 34 PagelID 5143

 

RATED NCO'S NAME (Last, First. Middle initial)
BROWN, JEREMY M

| SSN
|XXX-XX-XXXX

THRU DATE
20120331

 

 

PART IV (Rater) - VALUES/NCO RESPONSIBILITIES

b COMPETENCE
o Duty proficiency, MOS competency
o Technical & tactical, knowledge, skills, and
abilities
Sound judgment
Seeking self-improvement, always learning
Accomplishing tasks to the fullest capacity,
committed to excellence

EXCELLENCE SUCCESS NEEDS IMPROVEMENT
(Exceeds std) (Meets std) (Some) (Much)

o
Oo

°

Bullet comments are mandatory
Substantive bullet comments are required for ‘EXCELLENCE’ or ‘NEEDS IMPROVEMENT * J

lo deployed to Afghanistan in support of the recovery of US POW for 90 days and
enabled forward movement of opcrations/intelligence fusion for this effort

\o worked to develop, staff and disseminate the updated SOCCENT 1208 policy which
lensured SOCCENT and subordinate commands were synchronized on special funding

 

c PHYSICAL FITNESS & MILITARY BEARING

o Mental and physical toughness

o Endurance and slamina to go the distance

o Displaying confidence and enthusiasm,
looks like a Soldier

d LEADERSHIP
o Mission ftrst
o Genuine concern for Soldiers
© Instilling the spirit to achieve and win
° Setting the example. Be, Know, Do

 

o Individual and team

o Mission focused, performance orented

o Teaching Soldiers how, common tasks,
duty-related skills

o Sharing knowledge and experience to fight,
survive and win

jy

EXCELLENCE SUCCESS NEEDS IMPROVEMENT
(Exceeds std) (Meets std) (Some) (Much)

EXCELLENCE SUCCESS NEEDS IMPROVEMENT
(Exceeds std) (Meets std) (Some) (Much)
e TRAINING — -

EXCELLENCE SUCCESS NEEDS IMPROVEMENT
(Exceeds std) (Meets std) (Some) (Much)

laprt PASS” HEIGHT/WEIGHT 72/196 YES

io scored 275 on the APFT

20120117

 

|o maintained professionalism and military bearing when interacting with GO/FO level
lotficers both within and outside of the command

o served as the Night Shift Leader for the Non-conventional Assisted Recovery
Coordination Center during USCENTCOM exercise INTERNAL LOOK 12-1

lo bnefed the SOCCENT Commander and the USCENTCOM J3 on recommended
jsolutions for the SGT Bergdahl effort upon redeployment

 

 

 

o tramed the CFSOCC forward staff on Low Visibility Friendly Force Tracking
procedures, processes and equipment in anticipation of high risk operations

|o completed several crvilian training course which propelled him for future success 1n
or out of the military

 

f RESPONSIBILITY & ACCOUNTABILITY

Care and maintenance of equipment/facitities
Soldier and equipment safety

Conservation of supplies and funds
Encouraging Soldiers to learn and grow
Responsible for good, bad, right & wrong

EXCELLENCE SUCCESS
(Exceeds std) (Meets std)

oooo$0d

(Some) (Much)

NEEDS IMPROVEMENT

o ensured quality management and reporting of over $6 5 millon in Section 1208
compartmented funding in support of operations in the USCENTCOM AOR

0 took full responsibility for his actions, good or bad

 

PART V - OVERALL PERFORMANCE AND POTENTIAL

 

a RATER Overall potential for promotion and/or
service in positions of greater responsibility

AMONG THE FULLY
BEST CAPABLE MARGINAL
x

b RATER List 3 positions in which the rated
NCO could best serve the Army at his/her
current or next higher grade

Battalion Operations Sergeant

Group Opcrations Sergeant

MAC OM Operations Sergeant

c SENIOR RATER Overall performance

 

 

ss

1

 

o has potential to excel in positions of greater responsibility

MI

Successful

Te SENIOR RATER BULLET COMMENTS
0 promote to SGM at next opportunity

© send to advanced NCOES schooling once promoted

o performance in support of POW recovery operations was truly noteworthy

d SENIOR RATER Overall potential
for promotion and/or service in
positions of greater responsibility

 

Utd lL I

2 3 4

Fair '

2 3
Superior

4
Fair

5

Poor
Poor

 

 

DA FORM 2166-8, OCT 2011

 

Page 2 of 2
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